       Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 1 of 56




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 9
                                 UNITED STATES DISTRICT COURT
10                                FOR THE DISTRICT OF NEVADA

11                                                      Master File No.: 2:18-cv-01864
      IN RE ALLEGIANT TRAVEL CO.
12    STOCKHOLDER DERIVATIVE                            THIRD AMENDED VERIFIED
      LITIGATION                                        CONSOLIDATED STOCKHOLDER
13
                                                        DERIVATIVE COMPLAINT
14
                                                        JURY TRIAL DEMANDED
15
            Plaintiffs Mark Fullenkamp and Charles Blackburn (collectively “Plaintiffs”), by and
16
     through their counsel, derivatively on behalf of nominal defendant Allegiant Travel Co. (“Allegiant”
17
     or the “Company”), submit this Third Amended Verified Consolidated Stockholder Derivative
18
     Complaint (“Complaint”) against certain current and former officers and directors of the Company
19
     (collectively defined herein as the “Individual Defendants”) and allege the following upon
20
     information and belief, except as to those allegations concerning Plaintiffs, which are alleged upon
21
     personal knowledge. Plaintiffs’ information and belief is based upon, among other things, their
22
     counsel’s investigation, which included, inter alia, review and analysis of: (i) regulatory filings
23
     submitted by Allegiant to the U.S. Securities and Exchange Commission (“SEC”); (ii) press releases
24
     issued and disseminated by Allegiant; (iii) other publicly-available information, including court
25
     filings and media and analyst reports, concerning Allegiant; and (iv) non-public documents obtained
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28                                       1
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
       Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 2 of 56




 1 pursuant to a Freedom of Information Act (“FOIA”) request to the U.S. Federal Aviation
 2 Administration (“FAA”).

 3                                   SUMMARY OF THE ACTION
 4          •      This is a stockholder derivative action asserting claims for breach of fiduciary duty,
 5 unjust enrichment, and violations of Section 14 of the Securities Exchange Act of 1934 (“Section
 6 14”), brought on behalf of nominal defendant Allegiant, against the Individual Defendants.
 7          •      Allegiant bills itself as a leisure travel company, focusing on providing travel services
 8 and products to residents of under-served cities in the United States. The Company offers scheduled
 9 air transportation on limited frequency nonstop flights between under-served cities and leisure
10 destinations. As of May 23, 2018, Allegiant operated a fleet of 99 Airbus aircraft. The Company
11 also provides air-related services and products in conjunction with air transportation and third-party
12 travel products, such as hotel rooms, ground transportation, and attractions. Allegiant provides air
13 transportation services through fixed-fee agreements and charter service on a year-round and ad-hoc
14 basis. The Company also leases spare engines to a third party and offers management solutions to
15 golf courses.
16          •      Allegiant was founded in 1997, but quickly went bankrupt. It was resurrected in 2002
17 by defendant Maurice J. Gallagher, Jr. (“Gallagher”), one of its major creditors, who had an
18 extensive history with low-cost airlines. The Company is based in Las Vegas, Nevada.
19          •      Allegiant operated the ninth largest commercial airline in the United States and is
20 known as a low-cost or budget airline. As alleged herein, those low prices came at the expense of
21 skimping on safety and maintenance, from at least mid-2014 to the present (the “Relevant Period”).
22          •      Defendant Gallagher’s strategy of saving money on safety and maintenance expenses
23 became a public problem for Allegiant in 2015. Although Allegiant was rated the most profitable
24 airline in 2015, unbeknownst to the public, that same year its fleet had to make at least seventy-
25 seven unexpected landings for serious mechanical failures. On June 25, 2015, five Allegiant planes
26 failed midair within the span of four hours. Allegiant had a fleet of eighty-six planes, and forty-two
27 of them broke down midair at least once in 2015.
28                                       2
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
       Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 3 of 56




 1          •       During this period, the Tampa Bay Times analyzed and reported that federal aviation
 2 records revealed that Allegiant’s planes were four times more likely to fail during flight than those

 3 operated by other major U.S. airlines.
 4          •       Each of the Individual Defendants has an extensive history in the airline industry and
 5 was aware of the importance of proper safety for an air carrier. For example, the Company’s May
 6 16, 2016, definitive proxy statement (the “May 2016 Proxy”) touted the Board’s experience,
 7 asserting that the Board members’ experience in the airline industry “allows [the Board] to
 8 meaningfully participate in the oversight of this [safety and maintenance] risk area.” Yet, despite
 9 this experience, the Board cut corners on safety and maintenance. The Board members were fully
10 aware of the negative impact these cost-cutting measures had on the Company and the risks they
11 posed to passengers, yet the Board failed to correct these widespread problems in a timely fashion.
12          •       While negative news stories about safety failures trickled out from local news
13 sources, the Individual Defendants caused Allegiant to make a series of false and misleading
14 statements regarding its safety procedures, the Company’s purported compliance with Federal
15 Aviation Administration (“FAA”) regulations, and that safety was the Company’s first priority. The
16 statements, including that safety was the Company’s primary concern, falsely inflated the price of
17 Allegiant stock. At the same time, rather than correcting the safety issues at Allegiant, the Individual
18 Defendants instead employed a scheme aimed at minimizing the risk of public disclosure of the
19 safety issues.
20          •       Several of the Individual Defendants also sold large quantities of stock during this
21 period, with knowledge that the Company’s stock price was artificially inflated.
22          •       Although thousands of people were likely exposed to local news stories such as those
23 published by the Tampa Bay Times, it was not until CBS News aired a segment on its 60 Minutes
24 program on April 15, 2018, which was viewed by over 10.4 million people, that the truth reached
25 the masses. The 60 Minutes segment featured interviews from airline experts, passenger footage,
26 and commentary from journalists. It told the story of an airline that industry insiders refused to fly
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28                                       3
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
       Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 4 of 56




 1 because of safety concerns – an airline that was willing to compromise the safety of its passengers
 2 in exchange for increased profit.

 3          •       Three of the Individual Defendants sold $2.3 million worth of Allegiant shares, at
 4 artificially-inflated prices, just over a month prior to the airing of the 60 Minutes segment, at a time
 5 when they were certainly aware that CBS News was producing the episode about the Company.
 6 CBS News stated that they spent seven months researching and filming the 60 Minutes segment and
 7 although CBS reached out to Allegiant several times during the process, the Company refused to
 8 participate in the report. In total, five of the Individual Defendants sold 308,679 shares of stock
 9 while at artificially-inflated prices for total proceeds of over $50.85 million.
10          •       Following an announcement that the 60 Minutes segment would air on April 15,
11 2018, shares of Allegiant stock fell $18.85 per share, or over 11.4%, representing a decline of over
12 $304 million in market capitalization. In addition to the loss in value and consumer confidence, the
13 safety failures and statements related thereto have also subjected Allegiant to extensive litigation,
14 including a class action for violations of the federal securities laws, captioned Checkman v. Allegiant
15 Travel Co., et al., No. 2:18-cv-1758, which is pending final approval of a $4 million settlement in
16 this District (the “Securities Class Action”); an action brought by a pilot for wrongful termination
17 stemming from an incident in which he evacuated a smoking plane, captioned Kinzer v. Allegiant
18 Air, LLC and Allegiant Travel Co., No. A-15-727524-C, which recently settled for an undisclosed
19 sum in Clark County, Nevada District Court; and a personal injury action brought by an injured
20 passenger, captioned Kuhn v. Allegiant Travel Co. and Allegiant Air, LLC, No 2:18-cv-150, which
21 recently settled for an undisclosed sum in the U.S. District Court for the Western District of
22 Pennsylvania. The extent of Gallagher’s liability or his contribution to such settlement also has not
23 been disclosed.
24          •       This derivative action seeks to remedy the Individual Defendants’ wrongdoing on
25 behalf of Allegiant and its stockholders.
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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
       Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 5 of 56




 1                                            JURISDICTION
 2            •     The Court has jurisdiction pursuant to 28 U.S.C. § 1331 because the Complaint

 3 alleges a claim for violations of Section 14 of the Exchange Act. The Court has supplemental
 4 jurisdiction over the pendent state law claims pursuant to 28 U.S.C. § 1367(a) because the state law
 5 claims form part of the same case or controversy. This Court also has diversity jurisdiction as
 6 conferred by 28 U.S.C. § 1332. Plaintiffs and defendants are citizens of different states and the
 7 amount in controversy exceeds the sum or value of $75,000, exclusive of interest and costs. This
 8 action is not a collusive action designed to confer jurisdiction on a court of the United States that it
 9 would not otherwise have.
10            •     The Court has jurisdiction over each defendant named herein because each defendant
11 is either a corporation that conducts business in and maintains operations in this district, or is an
12 individual who has sufficient minimum contacts with this district to render the exercise of
13 jurisdiction by the district courts permissible under traditional notions of fair play and substantial
14 justice.
15            •     Venue is proper in this Court in accordance with 28 U.S.C. § 1391 because:
16 (i) Allegiant maintains its principal place of business in this district; (ii) one or more of the
17 defendants either resides in or maintains executive offices in this district; (iii) a substantial portion
18 of the transactions and wrongs complained of herein, including the defendants’ primary participation
19 in the wrongful acts detailed herein, occurred in this district; and (iv) defendants have received
20 substantial compensation in this district by doing business here and engaging in numerous activities
21 that had an effect in this district.
22                                                PARTIES
23 Plaintiffs
24            •     Plaintiff Mark Fullenkamp is currently an Allegiant stockholder and has continuously
25 been a stockholder of the Company throughout the Relevant Period. He is a citizen of Ohio.
26
27
28                                        5
              THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
       Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 6 of 56




 1          •      Plaintiff Charles Blackburn is currently an Allegiant stockholder and has
 2 continuously been a stockholder of the Company throughout the Relevant Period. He is a citizen of

 3 Pennsylvania.
 4 Defendants
 5          •      Nominal defendant Allegiant is incorporated under the laws of the State of Nevada
 6 and maintains its headquarters at 1201 North Town Center Drive, Las Vegas, Nevada 89144. The
 7 Company’s shares are publicly traded on the NASDAQ under the symbol ALGT. The Company’s
 8 primary function is operating an American low-cost airline, Allegiant Air.
 9          •      Defendant Gallagher has been the Chief Executive Officer (“CEO”) and Chairman of
10 the Board of Directors (“Board”) of Allegiant since September 2006. He has also been Chairman of
11 Allegiant Air since 2001. The Company’s May 17, 2019, Definitive Proxy Statement states that
12 Gallagher is not an independent director: “Our board of directors has determined that all of our
13 directors, other than Maurice J. Gallagher, Jr. and John Redmond, are independent . . . .” Under
14 NASDAQ rules, Gallagher was not an independent director because he was an officer and employee
15 of the Company. Moreover, as the principal architect of many of the cost cutting measures,
16 Gallagher is directly interested in any challenge to such actions. In 2015, Gallagher received
17 $3,550,486 in total compensation from Allegiant, bonuses made up $2,926,633 and $600,071 were
18 stock awards. In 2016, Gallagher received $3,571,205 in total compensation from Allegiant,
19 bonuses made up $2,850,000 and $699,948 were stock awards. In 2017, Gallagher received
20 $2,320,613 in total compensation from Allegiant, bonuses made up $1,500,000 and $800,064 were
21 stock awards. Gallagher is named as a defendant in the Securities Class Action. Gallagher is a
22 citizen of Nevada.
23          •      Defendant John T. Redmond (“Redmond”) has been the President of Allegiant since
24 2016 and a director since 2014. He is a member of the Compensation Committee. As set forth
25 above, the Company’s May 17, 2019, Definitive Proxy Statement conceded that Redmond is not an
26 independent board member. This is because he is an officer of the Company. Moreover, Redmond
27 is beholden to Gallagher as a result of their prior business relationship. In 2016, Redmond received
28                                      6
            THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
       Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 7 of 56




 1 $10,175,198 in total compensation from Allegiant, bonuses made up $250,000 and $9,379,248 were
 2 stock awards. In 2017, Redmond received $1,857,125 in total compensation from Allegiant,

 3 $1,749,973 of which were stock awards. Redmond is a citizen of Colorado.
 4          •      Defendant Gregory Anderson (“Anderson”) has been Allegiant’s Principal
 5 Accounting Officer since January 2015 and Senior Vice President of Treasury since January 2017.
 6 In those positions, he was responsible for the Company’s false and misleading statements that are
 7 the subject of the Securities Class Action. He has worked at Allegiant since January 2010, beginning
 8 as a Senior Accountant/Financial Analyst and continuing as the Director of Accounting starting in
 9 December 2011. Anderson is a citizen of Nevada.
10          •      Defendant Scott Sheldon (“Sheldon”) has been Allegiant’s Chief Financial Officer
11 (“CFO”) since May 2010 and Chief Operating Officer (“COO”) since October 2014. He was
12 Allegiant’s Principal Accounting Officer from 2007 to 2010, the Senior Vice President from 2010
13 to January 2017, and has held other accounting positions at the Company dating back to 2004. In
14 2015, Sheldon received $1,458,497 in total compensation from Allegiant, bonuses made up
15 $633,805 and $600,071 were stock awards.          In 2016, Sheldon received $3,053,257 in total
16 compensation from Allegiant, bonuses made up $719,818 and $2,101,948 were stock awards. In
17 2017, Sheldon received $1,918,428 in total compensation from Allegiant, bonuses made up
18 $813,100 and $800,064 were stock awards. In his positions as CFO and COO, he was directly
19 responsible for the Company’s false and misleading statements that are the subject of the Securities
20 Class Action and he is a named defendant in the Securities Class Action. Sheldon is a citizen of
21 Nevada.
22          •      Defendant Eric Gust (“Gust”) has been Allegiant’s Vice President of Operations
23 since December 2015. Gust is a citizen of Nevada.
24          •      Defendant Charles W. Pollard (“Pollard”) has been a director of Allegiant since 2009.
25 He is a member of the Audit and Nominating Committees. Pollard is a citizen of Massachusetts.
26          •      Defendant Linda A. Marvin (“Marvin”) has been a director of Allegiant since 2013.
27 She is the Chair of the Audit Committee and a member of the Nominating Committee. Marvin was
28                                       7
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
       Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 8 of 56




 1 previously Allegiant’s Chief Financial Officer and an executive managing director. Marvin does
 2 not sit on the board of any other public company. Marvin is a citizen of Nevada.

 3          •      Defendant Gary E. Ellmer (“Ellmer”) has been a director of Allegiant since 2008. He
 4 is a member of Audit, Ethics, Nominating, and Compensation Committees. Ellmer has served as an
 5 executive officer at several aviation companies, including as President and Chief Operating Officer
 6 of American Eagle Airlines, Inc. Allegiant is the only public company board on which Ellmer sits.
 7 Ellmer is a citizen of Missouri.
 8          •      Defendant Montie R. Brewer (“Brewer”) has been a director of Allegiant since
 9 October 2009. He is a member of Nominating and Compensation Committees. Brewer is a citizen
10 of Massachusetts.
11          •      Gallagher, Redmond, Pollard, Marvin, Ellmer, and Brewer are referred to herein as
12 the “Director Defendants.” Gallagher, Redmond, Anderson, Sheldon, Gust, Pollard, Marvin, Ellmer,
13 and Brewer are referred to herein as the “Individual Defendants.”
14 Relevant Non-Party
15          •      Ponder Harrison was elected to Allegiant’s Board in 2019.
16                          DUTIES OF THE INDIVIDUAL DEFENDANTS
17          •      By reason of their positions as officers, directors, and/or fiduciaries of Allegiant and
18 because of their ability to control the business and corporate affairs of Allegiant, the Individual
19 Defendants owe the Company and its stockholders the fiduciary obligations of loyalty, good faith,
20 candor, and due care and are required to use their utmost ability to control and manage Allegiant in
21 a fair, just, honest, and equitable manner. The Individual Defendants are required to act in
22 furtherance of the best interests of Allegiant and its stockholders so as to benefit all stockholders
23 equally and not in furtherance of their personal interest or benefit. Each director and officer of the
24 Company owes to Allegiant and its stockholders the fiduciary duty to exercise good faith and
25 diligence in the administration of the affairs of the Company and in the use and preservation of its
26 property and assets, and the highest obligations of fair dealing.
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28                                       8
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
       Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 9 of 56




 1          •       The Individual Defendants, because of their positions of control and authority as
 2 directors and/or officers of Allegiant, directly and/or indirectly, exercised control over the wrongful

 3 acts complained of herein.
 4          •       To discharge their duties, the officers and directors of Allegiant were required to
 5 exercise reasonable and prudent supervision over the management, policies, practices, and controls
 6 of the Company. By virtue of such duties, the officers and directors of Allegiant were required to,
 7 inter alia:
 8          A.      Ensure that the Company complied with its legal obligations and
                    requirements, including acting only within the scope of its legal authority,
 9
                    complying with all FAA rules and regulations, and disseminating truthful and
10                  accurate statements to the SEC and the investing public;

11          B.      Conduct the affairs of the Company in a lawful, efficient, business-like
                    manner so as to make it possible to provide the highest quality performance
12                  of its business, to avoid wasting the Company’s assets, and to maximize the
                    value of the Company’s stock;
13
14          C.      Properly and accurately guide investors and analysts as to the true financial
                    condition of the Company at any given time, including making accurate
15                  statements about the Company’s financial results and prospects, and ensuring
                    that the Company maintained an adequate system of financial controls such
16                  that the Company’s financial reporting would be true and accurate at all times;
17          D.      Remain informed as to how the Company conducted its operations, and, upon
                    receipt of notice or information of imprudent or unsound conditions or
18
                    practices, make reasonable inquiry in connection therewith, and take steps to
19                  correct such conditions or practices and make such disclosures as necessary
                    to comply with federal and state securities laws; and
20
            E.      Ensure that the Company was operated in a diligent, honest, and prudent
21                  manner in compliance with all applicable federal, state, and local laws, rules,
                    and regulations.
22
            •       Each of the Individual Defendants, as a director and/or officer, owed to the Company
23
     and its stockholders the fiduciary duties of loyalty, good faith, and candor in the management and
24
     administration of the affairs of the Company, as well as in the use and preservation of its property
25
     and assets. The conduct of the Individual Defendants complained of herein involves a knowing and
26
     culpable violation of their obligations as directors and officers of the Company, the absence of good
27
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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 10 of 56




 1 faith, and a reckless disregard for their duties to the Company and its stockholders. The Individual
 2 Defendants were, or should have been, aware that their conduct posed a risk of serious injury to the

 3 Company.
 4          •      As noted in the Allegiant Travel Company and Subsidiaries Corporate Code of
 5 Conduct and Ethics (the “Code”):
 6                  It is our responsibility to conduct ourselves in an ethical business manner and
 7          also to ensure that others do the same. If any one of us violates these standards, we
            can expect a disciplinary response, which may rise to the level of termination of any
 8          employment or other relationship with the company or legal action. If any breach of
            the Code is known to any employee or member of management, you are obligated to
 9          report violations in accordance with the procedures set out in this Code. By doing
            so, we ensure that the good faith efforts of all of us to comply with the Code are not
10
            undermined.
11
                   The ultimate responsibility for maintaining our Code rests with each of us. As
12          individuals of personal integrity, we can do no less than to behave in a way that will
            continue to bring credit to our Company and ourselves
13
14          •      Under the Code, the Individual Defendants are required “[t]o be honest, fair, and

15 accountable in all business dealings” as follows:
16          To our customers: to provide high quality air transportation and leisure travel services
            consistent with customer requirements. To be the best supplier of knowledge
17          management services we can with emphasis on fair competition and long-lasting
18          relationships.

19          To our suppliers: to develop and maintain mutually beneficial relationships based on
            the principle of fair competition in the marketplace.
20
            To society and the local community: to be a responsible and responsive corporate
21          citizen in a moral, ethical and beneficial manner.

22          To our shareholders: to pursue growth and earnings objectives while adhering to ethical
            standards.
23
            To our employees: to provide safe working conditions and an environment characterized
24          by fairness, respect for the individual, dignity and equal opportunity.
25
26
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            THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 11 of 56




 1          •       Allegiant’s Audit Committee Charter sets forth the primary duties of the Board’s
 2 Audit Committee – defendants Marvin (chair), Ellmer, and Pollard. Those responsibilities include,

 3 among other things:
 4          •       Oversee the quality and objectivity of the Company’s financial statements and
 5                  the independent audit thereof by, among other things, reviewing and
                    appraising the audit efforts of the Company's independent auditors;
 6
            •       Oversee that management has maintained the reliability and integrity of the
 7                  Company’s accounting policies and financial reporting and disclosure
                    practices;
 8
            •       Oversee that management has established and maintained adequate systems
 9
                    of disclosure controls and procedures and internal controls over financial
10                  reporting;

11          •       Oversee that management has established and maintained processes to assure
                    compliance by the Company with all applicable laws, regulations and
12                  corporate policy;
13          •       Assist the Board oversight of (i) the integrity of the Company’s financial
14                  statements, (ii) the Company’s compliance with legal and regulatory
                    requirements, (iii) the independent auditors’ qualifications and independence,
15                  (iv) the performance of the Company’s internal audit function and
                    independent auditors; and (v) the Company’s overall risk management
16                  profile;
17          •       Review the Company’s policies and compliance procedures regarding ethics.
18
            •       Consistent with these functions, the members of the Audit Committee “should
19
     encourage continuous improvement of, and should foster adherence to, the Company’s policies,
20
     procedures and practices at all levels.”
21
                                        FACTUAL ALLEGATIONS
22
            A.      The Individual Defendants’ Professional Experience in Air Travel
23
            •       Each of the Individual Defendants has an extensive history in aviation and/or the
24
     airline industry. They each know that the safe transport of passengers to their destinations is the
25
     most important goal of an airline company. Despite this knowledge, the Individual Defendants have
26
     caused or allowed Allegiant to carry on a scheme dating back to at least 2015 in which safety was
27
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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 12 of 56




 1 sacrificed in the name of cost cutting and profits. This scheme put customers at risk and hurt the
 2 Company’s reputation and bottom line.

 3 Defendant Gallagher’s History at WestAir and ValuJet
 4          •      Defendant Gallagher has a long history in the airline industry. He was a founder of
 5 WestAir, which operated as the west-coast commuter and regional airline affiliate of United Airlines
 6 from 1978 to 1992.
 7          •      In 1992, Defendant Gallagher co-founded ValuJet Airlines (“ValuJet”).          Like
 8 Allegiant, ValuJet was a low-cost carrier that quickly became notorious for its dangerous cost-
 9 cutting measures. ValuJet exclusively purchased used planes from other airlines, provided sparse
10 training to its employees, and used outside contractors for maintenance and other services. These
11 tactics helped ValuJet develop a poor reputation for lax safety.       In 1995, the United States
12 Department of Defense refused ValuJet’s bid to fly military personnel, citing safety concerns. On
13 February 14, 1996, the FAA’s Atlanta field office sent a memo to the main office in Washington,
14 D.C. suggesting that the FAA ground ValuJet. ValuJet planes made 15 emergency landings in 1994,
15 57 in 1995, and 57 from January through May 1996.
16          •      ValuJet’s safety issues came to a head on May 11, 1996, when ValuJet flight 592
17 from Miami to Atlanta International Airport crashed into the Florida Everglades about ten minutes
18 after takeoff, killing all 110 people on board. The crash was caused by a fire in the cargo
19 compartment which was ignited by improperly-stored hazardous cargo.
20          •      Following the crash of ValuJet flight 592, ValuJet was grounded until September
21 1996, and its deficient safety policies and violations came to light. For example, one ValuJet plane
22 flew 140 times with a leaky hydraulic system, one flew 31 times with malfunctioning weather radar,
23 and another was allowed to fly despite engine rust that went unnoticed and later caught fire,
24 destroying the plane. After this news was revealed, the airline never recovered – its fleet and
25 operations were transferred to AirTran Airways between 1997 and 1999.
26          •      Despite his direct knowledge of the grave consequences of substandard safety
27 policies, Defendant Gallagher has employed frighteningly similar practices at Allegiant. Due to his
28                                     12
            THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 13 of 56




 1 long history in the airline industry, Gallagher had detailed knowledge regarding the importance of
 2 implementing and maintaining proper safety controls over an airline and the consequences of failing

 3 to do so.
 4 Defendant Redmond’s History at Menzies
 5          •      In addition to his role as President of Allegiant, Defendant Redmond currently serves
 6 as a Senior Vice President of Americas at Menzies Aviation plc. (“Menzies”), which provides
 7 landside and airside services for airlines at over 200 airports around the world. Menzies offers third-
 8 party staffing for airlines, including a wide array of services such as baggage and ramp handling,
 9 passenger greeting and concierge work, cabin cleaning, plane de-icing, transporting cargo, and
10 aircraft refueling.
11          •      Due to his long history in the airline industry, Redmond had detailed knowledge
12 regarding the importance of implementing and maintaining proper safety controls over an airline
13 and the consequences of failing to do so.
14 Defendant Anderson’s History of Accounting at Allegiant and US Airways
15          •      Defendant Anderson has been an airline accountant since May 2009. He initially
16 worked as an accountant for US Airways from May 2009 to January 2010, when he moved to
17 Allegiant. He started at Allegiant as a Senior Accountant/Financial Analyst from January 2010 to
18 December 2011, when he was promoted to Director of Accounting. In January 2015, he became a
19 Vice President and Principal Accounting Officer and was then promoted to Senior Vice President of
20 Treasury in January 2017.
21          •      Due to his extensive history of airline accounting, Defendant Anderson had detailed
22 knowledge regarding the importance to an airline’s bottom line of maintaining proper safety
23 procedures and the consequences of failing to do so. He was also aware of the consequences for
24 issuing false and misleading statements to the investing public.
25 Defendant Sheldon’s History of Accounting at Allegiant
26          •      Defendant Sheldon has worked in an accounting capacity at Allegiant since January
27 2004. He joined the Company as Accounting Manager and was promoted to Director of Accounting
28                                      13
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 14 of 56




 1 in May 2005. Sheldon was Allegiant’s Principal Accounting Officer from 2007 to May 2010. In
 2 that role, he oversaw all accounting, tax, and financial reporting and financial planning and analysis.

 3 He became Senior Vice President in May 2010 and held that role until January 2017. Recently, he
 4 served as Interim CFO from May 26, 2017, to October 24, 2017, and is currently the CFO and COO.
 5          •       Due to his extensive history in leadership roles, defendant Sheldon was had detailed
 6 knowledge of the importance of safety to an airline’s bottom line, the consequences of unsafe
 7 practices, and the consequences of issuing false and misleading statements to the investing public.
 8 Defendant Gust’s History in Airline Safety and Operational Leadership Positions
 9          •       Defendant Gust has worked in the airline industry since February 1995 and since that
10 time has been in leadership roles specifically tasked with airline safety and/or operations. For fifteen
11 years he was the Vice President of Flight Operations at Mesa Airlines – a regional carrier for
12 American Airlines and United Airlines. Then Gust joined Allegiant as Vice President of Safety and
13 Security in October 2010. He was promoted to his current role as Allegiant’s Vice President of
14 Operations in December 2015.
15          •       Due to his tenure in leadership roles responsible for airplane operation and safety, he
16 had detailed knowledge regarding the importance of adequate safety policies and the consequences
17 of operating without such policies. Additionally, he is directly responsible for overseeing safety
18 procedures at Allegiant.
19 Defendant Pollard’s History in the Airline Industry
20          •       Prior to joining the Allegiant Board in June 2009, Defendant Pollard had a long
21 history in the airline industry. From 1987 to 1997, Pollard served in senior management positions,
22 including CEO and President, at World Airways, Inc., the oldest U.S. charter airline. In 1997, he
23 joined Omni Air International, Inc., a passenger charter carrier, where he served in various positions
24 including Managing Director, President, CEO, and Vice Chairman until 2009. He also served as a
25 director of Air Partner plc until 2014 and AeroMechanical Services Ltd. until 2011 and is currently
26 a director of Aircastle Limited. Air Partner plc is a private jet charter company. AeroMechanical
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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 15 of 56




 1 Services Ltd. provides real-time data and satellite communications for aircraft operators. Aircastle
 2 Limited acquires, leases, and sells commercial jet aircraft to airlines throughout the world.

 3          •      Based on Pollard’s extensive experience in air travel, he had detailed knowledge
 4 regarding the importance of adequate safety policies and the consequences of operating without such
 5 policies.
 6 Defendant Marvin’s History of Accounting at Allegiant and Other Airlines
 7          •      From September 1988 to June 1996, Defendant Marvin was involved in the airline
 8 industry in various finance and accounting roles with Business Express/Delta Connection and
 9 WestAir/United Express.
10          •      Defendant Marvin has been with Allegiant since its restructuring in 2001. Initially,
11 she was CFO of Allegiant from September 2001 to September 30, 2007. She was also Managing
12 Director and Principal Accounting Officer until September 30, 2007. Next, she was Executive
13 Officer of Allegiant until December 31, 2007. She then rejoined the Company as a director on
14 January 29, 2013.
15          •      Due to this extensive history accounting for airlines, Defendant Marvin had detailed
16 knowledge regarding the importance of maintaining proper safety procedures on an airline’s bottom
17 line and the consequences of failing to do so. She also was aware of the consequences of issuing
18 false and misleading statements to the investing public.
19 Defendant Ellmer’s History with the Airline Industry
20          •      Defendant Ellmer has worked with airplanes for forty-five years. Starting in 1973,
21 he worked in the U.S. Marine Corps as a mechanic and crew member aboard UH-1 helicopters and
22 as a flight engineer and instructor on KC-130 tanker aircraft.
23          •      He entered the commercial airline industry in 1980 and since that time has gained
24 extensive and diverse airline management experience. Ellmer’s prior commercial experience
25 includes a stint as President and COO of Business Express Airlines and maintenance and engineering
26 positions at McDonnell-Douglas and Hughes Helicopter. He also served as Vice President of
27 Maintenance and Engineering at WestAir Commuter Airlines/Mesa Airlines. From 1998 to 2002,
28                                      15
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 16 of 56




 1 Ellmer served in various officer positions for American Eagle Airlines, Business Express Airlines,
 2 and WestAir Commuter Airlines. He served as the President and COO of its Executive Airlines and

 3 American Eagle Caribbean unit from August 2002 to April 2006. From April 2006 to August 2006,
 4 Ellmer served as Vice President of Business Development for American Eagle Airlines. He then
 5 joined ATA Airlines, Inc. in September 2006 as Senior Vice President of Operations and General
 6 Manager of Charter. He has also served as Senior Vice President for Operations of Global Aviation
 7 Holdings, Inc. (alternatively named Global Aero Logistics, Inc.) since September 2007 and served
 8 as its General Manager of Charter. Ellmer was responsible for flight and technical operations as
 9 well as Global Aviation’s charter business. He served as the COO at ATA Airlines, Inc. from
10 September 2007 to February 2008. And finally, Ellmer has been a director of Allegiant since May
11 2008.
12          •      Due to his extensive experience around planes and in the commercial airline industry,
13 he had detailed knowledge regarding the importance of adequate safety policies and the
14 consequences of operating without such policies.
15 Defendant Brewer’s History as an Airline Executive
16          •      Like the other Individual Defendants, Defendant Brewer has extensive experience in
17 the commercial airline industry. Early in his career he worked at Northwest Airlines, Republic
18 Airlines, Braniff, and Trans World Airlines. Brewer then served as a Senior Vice President of
19 Planning at United Airlines. In that role, he planned and developed over 20 hub operations
20 worldwide, managed low-cost airline operations as President of United Shuttle, and successfully
21 restructured the route networks of three carriers.
22          •      Next, he joined Air Canada as Executive Vice President of Commercial in April
23 2002. He served as the chief architect and led the implementation of Air Canada’s new business
24 model including the successful simplified fare structure. He was responsible for all commercial
25 aspects of Air Canada including Air Canada Jazz, Air Canada Jetz, Air Canada Vacations, new
26 businesses, and a strategic direction of network planning, marketing, and scheduling. He also acted
27
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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 17 of 56




 1 as a key negotiator in the founding of Star Alliance. Defendant Brewer was the CEO and President
 2 of Air Canada from December 2004 to April 1, 2009.

 3          •      In addition to executive experience, Defendant Brewer has also served on a variety
 4 of airline and air travel-related boards of directors. He was a director of Swiss International Air
 5 Lines AG from October 2013 until January 2018. He serves as a member of the advisory board at
 6 Everbread Ltd. and Thayer Ventures, two travel technology companies. He serves as a member of
 7 the Board of Governors of the International Air Transport Association. He serves as the Vice
 8 Chairman of the Canadian Tourism Commission. He served as a director of Aer Lingus Group DAC
 9 from January 25, 2010 until September 02, 2015. He served as a director at Aer Lingus Limited
10 until September 1, 2015. He served as a director of Air Canada from March 8, 2005 to April 1,
11 2009. And finally, he has been a director of Allegiant since October 2009.
12          •      Due to his extensive experience as an executive and director in the commercial airline
13 industry, he had detailed knowledge regarding the importance of adequate safety policies and the
14 consequences of operating without such policies.
15          B.     Safety Issues at Allegiant
16          •      Allegiant was initially founded in January 1997 under the name WestJet Express.
17 After a trademark dispute, the Company changed its name to Allegiant Air. The airline received
18 FAA and DOT certification for scheduled and charter domestic operations on June 19, 1998.
19 Allegiant also has the authority for charter service to Canada and Mexico. After two years of
20 operation, Allegiant filed for Chapter 11 bankruptcy protection.
21          •      Defendant Gallagher was one of Allegiant’s major creditors and subsequently gained
22 control of the business. Gallagher restructured the Company to a low-cost model, which focused on
23 smaller markets that larger airlines did not serve.
24          •      In March 2002, Allegiant emerged from bankruptcy and began to acquire McDonnell
25 Douglas MD-80 aircrafts. From 2002 to 2004, Allegiant flew primarily from thirteen small cities to
26 Las Vegas and offered bundled air and hotel packages.
27
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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 18 of 56




 1          •      The Company went public in November 2006 and began to expand to additional cities
 2 including Phoenix-Mesa, Arizona; Fort Lauderdale-Hollywood, Florida; and Bellingham,

 3 Washington. By 2014, Allegiant expanded to additional cities including Grand Rapids, Michigan;
 4 Honolulu, Hawaii; Cincinnati, Ohio; and San Diego, California.
 5          •      Allegiant buys its planes second-, third-, or even fourth-hand and currently operates
 6 the oldest commercial aircraft fleet in the United States. The current average age of a plane in
 7 Allegiant’s fleet is twenty-two years. An old fleet is not necessarily dangerous, but older planes
 8 require a greater level of care and maintenance to ensure that they remain safe. Throughout the
 9 Relevant Period, the Individual Defendants caused Allegiant to cut corners on required maintenance
10 to reap higher profits. This is the same strategy that Defendant Gallagher employed at ValuJet which
11 eventually led to its demise. The lack of proper maintenance has led to high numbers of emergency
12 landings.
13          •      In the summer of 2015, Allegiant experienced a series of midair breakdowns. On
14 June 25, 2015, five Allegiant flights were interrupted by midair failures in a four-hour period. Since
15 October 2015, Allegiant has been under close FAA supervision due to this chain of incidents.
16          •      In 2015, Allegiant planes had to make at least seventy-seven unexpected landings for
17 serious mechanical failures. Allegiant has a fleet of eighty-six planes, forty-two of which had a
18 midair breakdown at least once in 2015. One plane made an emergency landing in Birmingham,
19 Alabama on a flight scheduled from St. Petersburg, Florida to Omaha, Nebraska due to a problem
20 with the air circulation fan. The incident revealed that the same MD-80 plane had at least four
21 serious mechanical failures in the fifteen months prior to the emergency landing.
22          •      This series of incidents was caused, at least in part, by the fact that Allegiant utilized
23 the oldest fleet in the industry and outsourced maintenance of its planes at many airports.
24          •      Allegiant was one of only three U.S. carriers still using the MD-80 as part of their
25 regular fleet until the Company recently retired them on December 3, 2018. But the age of the
26 aircraft was not the only problem. Allegiant’s MD-80s were more than twice as likely to break down
27 as MD-80s flown by American Airlines or Delta. Allegiant’s MD-80s broke down approximately
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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 19 of 56




 1 8.2 times per 10,000 flight hours, while American’s MD-80s only broke down 3.4 times and Delta’s
 2 only 2.4 times.

 3          •        After one of Allegiant’s MD-80s aborted takeoff in Las Vegas in 2015, the FAA
 4 accidentally sent its unredacted report to the Tampa Bay Times. The FAA’s report revealed
 5 “deliberate and systemic acts of noncompliance” in the airline’s maintenance procedure and found
 6 that the aircraft had flown 261 flights without a pin part necessary for a safe flight causing an
 7 “unacceptable safety risk” and that Allegiant’s response was “causal to the flights flown in an
 8 unairworthy condition.”
 9          •        In 2015, Inc. magazine reported that Allegiant was the most profitable airline in
10 America.      However, the Company’s profits were inflated by cost-cutting practices such as
11 maintaining the industry’s oldest fleet and skimping on necessary safety and maintenance expenses.
12 Flight 864 and the Wrongful Termination of Captain Kinzer
13          •        On June 8, 2015, passengers and crew aboard Allegiant flight 864 from St.
14 Petersburg, Florida bound for Hagerstown, Maryland began smelling smoke in the cabin. Captain
15 Jason Kinzer, in accordance with his regulatory duty and his common law obligation to provide a
16 high degree of care for the safety of his passengers, declared an emergency to local air traffic control
17 and returned to St. Petersburg airport for an emergency landing.
18          •        After landing, Captain Kinzer told Air Traffic Control that the plane would stop and
19 wait for fire rescue to inspect it before taking further action. Fire rescue reported smoke coming out
20 of the plane’s engine and urged the crew to shut the engine down. Captain Kinzer and his crew shut
21 the engine down and engaged the plane’s onboard fire extinguisher.
22          •        However, Captain Kinzer and his crew learned that the burning smell had not been
23 resolved. Captain Kinzer then acted for the safety of his passengers and crew and in accordance
24 with his training and responsibility and ordered the cabin crew to prepare for an evacuation and
25 alerted air traffic ground control.
26          •        The identified speaker on the radio channel authorized the evacuation, but one
27 speaker who refused to identify himself or his authority told Captain Kinzer to “hold off your
28                                      19
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 20 of 56




 1 evacuation.” Captain Kinzer and air traffic control asked for the mystery man to identify himself,
 2 but he would not, and simply repeated, “I’m telling you not to evacuate yet.”

 3          •      After waiting approximately one additional minute, Captain Kinzer asked one final
 4 time for the unidentified speaker to identify himself and when he failed to do so, Captain Kinzer
 5 evacuated the plane.
 6          •      While Captain Kinzer appears from the air traffic control transcript and witness
 7 accounts to have acted in the best interests of Allegiant’s passengers, Allegiant management took a
 8 different view of the incident. On July 23, 2015, Captain Kinzer received a letter of termination
 9 from Allegiant’s System Chief Pilot due to his evacuation of the smoking aircraft. The termination
10 letter alleged that Captain Kinzer “ordered an evacuation that was entirely unwarranted and, as a
11 result, your conduct and decision-making on June 8, compromised the safety of your crew and your
12 passengers and led directly to the injuries.”
13          •      Captain Kinzer filed suit for wrongful termination on December 7, 2015, in Clark
14 County District Court, and the matter, captioned Kinzer v. Allegiant Air, LLC and Allegiant Travel
15 Co., No. A-15-727524-C, settled on the verge of trial for an undisclosed sum. The lawsuit and its
16 settlement have caused substantial costs and negative press for the Company.
17          •      Following Captain Kinzer’s termination, one of his flight attendants, Natalee Negron,
18 wrote an email to Defendant Gallagher that questioned the decision. Her email read as follows:
19          I just feel this undying urge to reach out to you on the topic of what I feel to be the
            wrongful termination of a Captain.
20
21          All other parties that were involved that day were returned to duty with no additional
            training, which makes me wonder what the Captain did that was so wrong he received
22          the harshest punishment, especially hearing from Flight Ops management that the
            evacuation went as trained.
23
            I feel as though safety definitely was the deciding factor to evacuate that day. But I
24          honestly just felt a need to express that a Captain that had safety in the front of his
25          mind is no longer with the Company. I truly hope that this decision was made with
            the utmost caution and consideration of the facts.
26
            I truly hope I’m not stepping out of place with this email. Forgive me if I [am].
27
28                                      20
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 21 of 56




 1          •        Defendant Gallagher forwarded the email to defendant Sheldon, and Allegiant’s Vice
 2 President of In-Flight Services with a note, “please talk to me.” During the course of Captain

 3 Kinzer’s lawsuit, Gallagher has claimed that he has no memory of the email or of forwarding it to
 4 his executives.
 5          •        The emergency evacuation garnered great media attention and the Allegiant pilots’
 6 union has also stated that the firing was intended by Allegiant management to send a warning that
 7 the Company would not risk being embarrassed by major safety incidents that could bring light to
 8 the Individual Defendants’ broader safety and maintenance failures.
 9 The CtW Activist Investor Letter
10          •        On January 26, 2016, CtW Investment Group (“CtW”), a large stockholder that
11 manages approximately $250 billion in pension funds and had a substantial position in Allegiant
12 stock, sent a letter to the Allegiant Board (the “CtW Letter”). The letter called for the removal of
13 Defendant Marvin and brought the safety issues and the Board’s oversight role in reigning them in
14 to its direct attention:
15          Dear Allegiant Board Members:

16          At the annual shareholder meeting in June, public shareholders signaled a clear lack
            of confidence in former CFO Linda Marvin’s leadership of the Audit Committee.
17          Concerned at the Audit Committee’s approval of $9.3 million in highly questionable
            related transactions between the company and CEO Maurice Gallagher, and troubled
18
            by Ms. Marvin’s lengthy professional association with Gallagher, 47% of public
19          shareholders opposed her re-election. Recent negative publicity over airplane safety
            and ongoing investigations into in-flight incidents by the Federal Aviation
20          Administration lend urgency to Ms. Marvin’s swift replacement to ensure rigorous,
            independent oversight of regulatory compliance by our Audit Committee; and to the
21          initiation of a broader overhaul of board composition and committee structure.
22          Accordingly, we request that the board immediately: (1) engage an outside search
23          firm to recruit new independent directors to replace Ms. Marvin and to expand the
            overall size of our board, (2) reconstitute a majority of the Audit Committee with
24          newly recruited directors; and (3) establish a standalone safety committee of the
            board – the prevalent governance practice across the industry. These reforms are vital
25          to assuring customers and shareholders of Allegiant’s safety and compliance
            procedures, especially given both the company’s prodigious growth and reliance on
26
            using and acquiring older aircraft.
27
28                                      21
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 22 of 56




           In addition, (4) we request the suspension of all related transactions with CEO
 1         Gallagher, including the $2.5 million annual sponsorship of his son’s NASCAR team,
 2         until the Audit Committee has been thoroughly overhauled. It is incredible that the
           current committee – which also includes two other long-time associates of CEO
 3         Gallagher, John Redmond and Gary Ellmer – can exercise appropriate independence
           and objectivity in assessing transactions which “blur the lines between personal and
 4         corporate investment,” as Institutional Shareholder Services put it in recommending
           against Ms. Marvin.
 5
 6         •       The CtW Letter included an attack on the independence of Defendant Marvin and
 7 criticized her and her cohorts’ service on the Audit Committee:
 8         Former CFO Linda Marvin Lacks the ‘Critical Distance’ from CEO Gallagher
           to Serve as Audit Committee Chair and Should Leave the Board
 9
           It may be true that Ms. Marvin’s experience as Allegiant’s CFO until 2007 “adds
10         valuable knowledge to [the] board,” as you state in the proxy, but this comes at far
11         higher costs to the Audit Committee’s independence and objectivity. With the
           committee’s primary purpose being to bolster investor confidence in the company’s
12         numbers, its legal and regulatory compliance, and related party transactions,
           shareholders require absolute assurance in the objectivity and independence of its
13         members; even the perception that those qualities are tainted undermine its role. For
           this reason, it is exceedingly rare to have a former employee, let alone a previous
14
           CFO, serving on this key committee.
15
           Our analysis of analysis of the Russell 3000 indicates that there are just six other
16         instances of a former CFO (or CEO) of equal or more recent employment as Ms.
           Marvin serving on the Audit Committee. And just one of those serves, like Ms.
17         Marvin, as chair of the Audit Committee. Besides the risk of excessive deference to
           management that comes with any former executive serving as an independent
18         director, having a former CFO head the Audit Committee sets up the awkward
19         situation in which the same individual is responsible for independently overseeing
           the processes and controls that they may well have put in place as CFO or oversee
20         compliance issues that could have developed under the previous tenure. At a
           minimum, the risk is in having Ms. Marvin oversee the performance of a former
21         deputy; current CFO Scott Sheldon, we note, served as Director of Accounting during
           Ms. Marvin’s tenure as CFO. Compounding this challenge is the fact that Mr.
22         Sheldon is the nephew of former Allegiant director and long-time business associate
23         of CEO Gallagher, Timothy Flynn; together CEO Gallagher and Mr. Flynn founded
           ValuJet and WestAir and are partners, along with Audit Committee member John
24         Redmond (see below), in the investment consortium owning our company’s
           headquarters.
25
           Considering Ms. Marvin’s extensive professional history with Mr. Gallagher –
26         serving as an executive under Gallagher at WestAir and MPower, in addition to her
27         role as CFO of Allegiant – it is difficult to view her appointment to the board in 2013

28                                     22
            THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
     Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 23 of 56




         stemming from anything else but her longstanding relationship with Gallagher.
 1       (Indeed, we note that at least until 2014, they had lived within a mile of each other
 2       for over a decade.)

 3       Unfortunately, similar independence concerns attach to Gary Ellmer and John
         Redmond, two of the three other Audit Committee members. Mr. Ellmer, who like
 4       Ms. Marvin has no other public board service, served alongside Mr. Gallagher at
         WestAir. Mr. Redmond, meanwhile, continues the board’s relationship with business
 5       partners of CEO Gallagher. Mr. Redmond, like former director Timothy Flynn (2006
 6       to 2013), is an eleven percent partner alongside CEO Gallagher (30%) in the limited
         liability company that owns the company’s headquarters and adjacent property.
 7
 8       •       The CtW further publicly criticized the Board’s composition, structure, and policies:

 9       Board Structure and Practices Have Failed to Keep Pace with Allegiant’s
         Growth and Must be Reformed
10
         While shareholders have benefited from the company’s prodigious growth, as
11       revenue has more than quadrupled since the initial public offering and the company’s
         valuation has grown to more than $3.4 billion, shareholders have been ill-served by
12
         the board’s failure to concomitantly develop its governance structure to better reflect
13       its changed structure.

14       Allegiant may have ceased to be a controlled company in 2007, but the board’s
         composition, oversight and responsiveness have failed to keep pace with this critical
15       shift to majority public ownership. To start, the board needs a more expansive and
         robust director recruitment process. Besides the lengthy ties Ms. Marvin and Messrs.
16       Redmond and Ellmer share with CEO Gallagher, outlined above, we note that Montie
17       Brewer was initially recommended to the board in 2009 by CEO Gallagher. It thus
         appears that at least four of our five independent directors were identified as
18       candidates by virtue of their relationship to CEO Gallagher. Moreover, while we
         think industry experience is vital for a board, with only one member of the board
19       coming from a professional background outside of the industry – and that director
         being Mr. Redmond –Allegiant needs to dramatically widen the talent pools from
20
         which it selects directors. Rather than a strength, the board’s concentration of
21       experience is suggestive of a highly constricted recruitment process.

22       The integrity of this entire process is further undermined by Ms. Marvin and Mr.
         Ellmer making up two-thirds of the Nominating Committee (Mr. Brewer being the
23       other member), the absence of a designated chair and the committee having met just
         once in each of the past seven years (2008 – 2014). We note that according to a 2013
24       Ernst & Young study, a mid-cap company’s nominating committee meets on average
25       4 times year. The same study also finds that the average mid-cap board size is ten
         and for mid-cap airlines is eleven - or in either case almost twice the size of our board.
26       It is clear to us that the board’s size, composition and performance are badly in need
         of an upgrade.
27
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          THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 24 of 56




 1          •      The CtW Letter concluded by recounting the past year’s safety issues and called for
 2 the creation of a standalone safety committee, which still does not exist two and a half years later:

 3          F.A.A. Compliance Failures, Safety Scares, Aging Fleet, Heighten Concerns
            over the Audit Committee and Indicate the Need for a Standalone Safety
 4
            Committee
 5
            The past year has seen a string of prominent safety incidents involving Allegiant
 6          flights, prompting several FAA investigations and a wave of negative publicity for
            our company (including landing Allegiant in the Wall Street Journal’s “Crisis of the
 7          week” column). And last week, we note, COO Steve Harfst abruptly resigned after
            less than 18 months at the company.
 8
 9          Questions have also been raised over the adequacy of disclosures surrounding
            regulatory compliance, while the company’s own pilots have pointed to a corporate
10          culture where profits come before safety. The emergency landing in Fargo, ND, in
            July of an Allegiant flight running low on fuel should be a wakeup call. The incident
11          not only follows a string of in-flight safety incidences over the prior months, but
            occurred on a flight piloted by two licensed executives, one being our director of
12          flight safety, and appears to have been wholly avoidable if the pilots had adequately
13          reviewed, as they are required before each flight, an FAA Notice to Airmen, which
            indicated that the Fargo Airport was closed due to a Blue Angels display. Besides
14          the emergency itself, Allegiant was criticized in the Wall Street Journal for its public
            response to the incident, as several “crisis experts” expressed concern at the
15          company’s overly defensive posture in addressing passenger and investor concerns
            over safety, particularly given the rash of incidents on company flights.
16
            As of September 8, 2015, the Las Vegas Review Journal reported 17 “unusual
17
            incidents” in 2015 involving Allegiant flights, including emergency landings, flight
18          diversions or aborted takeoffs, while the FAA says it has “several” ongoing
            regulatory investigations. The company had a further five emergency landings out
19          of Florida in the last week of the year.
20          Separately, according to a New York Times article, Allegiant pilots have identified
            at least 65 incidents in the period from September 2014 to March 2015, where flights
21
            were forced to divert, return to gates or abort takeoff because of mechanical or engine
22          problems. In a report sent to Congress and the F.A.A., the pilots contend that a
            combination of poorly trained mechanics, insufficient spare parts, and an aging fleet
23          is “creating a dangerous paradigm that could eventually lead to an accident resulting
            in serious injury and loss of life.”
24
            In the same article, the New York Times reported on previously undisclosed
25          problems in the airline’s maintenance and training programs identified in 2013 during
26          a routine F.A.A. inspection. Determining the current training was not effective in
            identifying systemic deficiencies or distinguishing between major and minor repairs,
27          the F.A.A. forced a six-month shut down of the company’s training programs and a

28                                      24
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 25 of 56




            freeze in new plane deliveries. Although Allegiant’s SEC filings routinely warn of
 1          the material risks from possible shortages of both pilots and aircraft, there can also
 2          be risks from failures to meet regulatory standards.

 3          With a key responsibility of the Audit Committee being to ensure that management
            has established and maintained processes to assure compliance with key regulations
 4          impacting the company, particularly those that could have significant impact on the
            company’s financials, these developments heighten the urgency for bolstering the
 5          committee’s independence from CEO Gallagher. They also underscore the need to
 6          establish a board safety committee. Almost all of Allegiant’s US peers have
            standalone committees to oversee management’s internal control processes and other
 7          activities regarding operational safety and compliance with applicable laws and
            regulations, rather than subsume the responsibility under the general mandate of the
 8          audit committee, which has other significant responsibilities. Indeed, considering
            that a key element of Allegiant’s business model is the reliance on older aircraft,
 9          which require more extensive maintenance, a board committee that focuses
10          exclusively on safety would appear long overdue.

11 (Internal footnotes and citations omitted).
12          •       Despite public warnings from a major activist stockholder, the Individual Defendants

13 opted to keep Marvin, Redmond, and Ellmer on the Audit Committee, failed to reshape or expand
14 the Board, failed to create a Safety Committee, and opted to allow the safety and mechanical failures
15 to continue.
16 Teamsters Union Report on Allegiant’s Maintenance-Related Issues
17          •       On April 20, 2015, the New York Times published an article titled “Pilots Fault

18 Allegiant on Safety as Talks Stall.” It told how, in 2013, a routine FAA inspection found problems
19 with Allegiant’s maintenance and safety programs, and, dating back to at least 2014, Allegiant pilots
20 reported the alarming rate of safety issues occurring at the airline to their union. By April 2015, the
21 Teamsters Aviation Mechanics Coalition had compiled a report of 65 incidents of aircraft
22 mechanical failure between September 2014 and March 2015. Based on these incidents, the union
23 concluded that Allegiant had poorly trained mechanics, insufficient spare parts, and a fleet well
24 beyond its service life. The union alleged that this created “a dangerous paradigm that could
25 eventually lead to an accident resulting in serious injury and loss of life.” Following this report,
26 Allegiant’s pilots threatened to strike in an effort to force the Company to adhere to safety protocols.
27 In the New York Times article, former National Transportation Safety Board member, John Goglia,
28                                      25
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 26 of 56




 1 stated, “For a small fleet, that’s an awful lot of problems,” and “They are running on the safety
 2 margin.”

 3           •      On March 7, 2016, the Teamsters Aviation Mechanics Coalition issued an updated
 4 Union Report on Maintenance-Related Issues (“Teamsters Report”) covering the period September
 5 2015 through January 2016. The Teamsters Report found that Allegiant had experienced at least 98
 6 separate and preventable maintenance issues in the five-month period. There were 35 engines issues,
 7 such as failures to start, clogged filters, and two instances of catastrophic engine failures in which
 8 the engine came apart. The Teamsters Report also found four incidents of smoke in the cabin and
 9 three instances of pressurization problems. The Teamsters Report also found the following new
10 issues:
             •   Little or no documentation during shift turnover: It is critical that maintenance
11
                 crews carefully document their work so that after a shift change, the mechanics
12               assigned to the next shift know where to pick up. When there is little or no shift
                 turnover, mechanics do not have the information necessary for a successful
13               transition.
14           •   Improper use of minimum equipment list (MEL) and dispatch procedures. A fleet
                 is able to operate with certain functions that do not work so long as maintenance
15
                 follows a certain procedure, known as MEL and dispatch procedures. But at
16               Allegiant Air, the TAMC [(Teamsters Aviation Mechanics Coalition)] found
                 maintenance teams were not consistently or accurately following MEL and
17               dispatch procedures.

18           •   Sub-standard maintenance expertise. Many maintenance crews lack adequate
                 experience to properly repair and dispatch aircraft. Allegiant Air flies into
19               secondary and tertiary airports, where the company relies on contracted
20               maintenance crews. Many of these crews do not have the necessary experience
                 working on MD-80s, the bulk of Allegiant’s fleet.
21
             •      The Teamsters Report noted that “the likelihood is high that there are additional and
22
     similar unreported incidents.” It also noted the following continuing problems that were previously
23
     observed in the September 2014 through March 2015 report:
24
             •   Training for maintenance crews is inadequate.
25
             •   There is a lack of process to document equipment failures. Specifically,
26               mechanics at Allegiant Air do not have the equipment needed to pull up the
27
28                                      26
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 27 of 56




                maintenance manual and are left having to work with manual references faxed
 1              from maintenance control or, in some instances, just verbal instructions.
 2
            •   Mechanics report a culture of “just move the metal” and feel pressure to get the
 3              aircraft to the next station. This has been confirmed by pilot reports of mechanics
                asking them if they can “just take the aircraft as it is.”
 4
            •   There is a lack of spare parts. In some instances the spare parts that are available
 5              are not reliable. Because of this, mechanics are required to “cannibalize” parts
 6              from another aircraft because adequate in-stock spares are not available.

 7          •   There is inadequate tooling and equipment. Mechanics have reported that critical
                jobs, such as the lubrication of stabilizer jack screws, cannot be performed due to
 8              a lack of training on equipment and unavailable equipment.
 9          •      Even though the Teamsters Report cited specific incidents to back up its claims, later
10 that day Allegiant responded by stating, “The Teamsters Aviation Mechanics Coalition has never
11 inspected a single Allegiant aircraft and has no firsthand knowledge of our operation.”
12 Additional Safety Incidents
13          •      On May 5, 2016, an Allegiant flight from Punta Cana, Dominican Republic bound
14 for Pittsburgh, Pennsylvania experienced severe turbulence and conducted an emergency landing at
15 Fort Lauderdale-Hollywood International Airport in Florida. Seven people were injured by the
16 turbulence, including three passengers and four flight attendants. Two of the passengers experienced
17 head injuries. The incident led to the filing of a lawsuit on February 2, 2018 in the Western District
18 of Pennsylvania. The plaintiff, Lori Kuhn, alleges that Allegiant improperly handled the situation.
19 She was thrown from her seat and hit her head on the ceiling of the plane, and suffered head, neck,
20 and brain injuries. Ms. Kuhn alleges that the plane’s radar systems should have detected the
21 turbulence and avoided it, and at the very least, the airline failed with respect to safety procedures
22 because passengers should have been warned and were not. Ms. Kuhn stated that she continues to
23 have medical problems and her suit seeks compensatory damages, costs, and attorneys’ fees. The
24 case, captioned Kuhn v. Allegiant Travel Co. and Allegiant Air, LLC, No 2:18-cv-150 (W.D. Pa.),
25 recently settled for an undisclosed amount.
26
27
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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 28 of 56




 1          •       Action News Jacksonville reported on 127 FAA investigations into safety issues on
 2 Allegiant flights out of Florida from 2005 to 2016. The investigations found numerous mechanical

 3 failures that caused emergency landings, aborted takeoffs, and flight diversions due to maintenance
 4 failures.
 5          •       On August 17, 2016, Allegiant Flight 436 aborted its take-off from McCarran
 6 International Airport in Las Vegas, Nevada due to an un-commanded early rotation at about 120
 7 knots indicated airspeed. An investigation by the FAA found that maintenance procedures had not
 8 been followed, which resulted in a nut becoming detached from an elevator boost cylinder. The
 9 aircraft had made 216 flights in this unairworthy condition and placed passengers, crew, and the
10 airline’s reputation at risk each time.
11          •       In November 2016, the Tampa Bay Times reported on Allegiant’s history of midair
12 failures. The article included an analysis of federal aviation records, which showed that Allegiant’s
13 planes were four times more likely to fail during flight than those operated by other major U.S.
14 airlines. The Tampa Bay Times also found the following facts, which Allegiant did not dispute:
15          •       Forty-two of Allegiant’s eighty-six planes broke down in mid-flight at least
                    once in 2015. Among them, fifteen were forced to land because of failing
16
                    engines, nine by overheating tail compartments, and six by smoke or the smell
17                  of something burning.

18          •       After certain systems on Allegiant planes fail, the company repairs them and
                    puts the planes back in service, only to see the same systems fail again.
19                  Eighteen times last year, key parts such as engines, sensors and electronics
                    failed once in flight, got checked out, and then failed again, causing another
20
                    unexpected landing.
21
            •       Allegiant’s jets are an average of twenty-two years old. The average age of
22                  planes flown by other carriers is twelve. Experts say planes as old as
                    Allegiant’s require the most rigorous maintenance in the industry. But
23                  Allegiant doesn’t staff its own mechanics at 107 of the 118 airports it flies to.
24          •       Allegiant relies most heavily on McDonnell Douglas MD-80s, an aging
                    model retired by all but two other major U.S. carriers. The company’s MD-
25
                    80s fail twice as often as those operated by American Airlines and three times
26                  as often as those flown by Delta.

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               THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 29 of 56




 1          •       The failures between January 2015 and September 2016 are illustrated as follows:
 2

 3
 4
 5
 6
 7
 8
 9
10
11
12
13          •       Following the Tampa Bay Times report, defendant Gallagher admitted, “I can look at
14 what we did (in 2015) and it wasn’t acceptable. I don’t disagree with the thrust of your numbers. . . .
15 We want to be well-known as being reliable and on time, and obviously safe, and that’s an important
16 part of our brand. And we’re going to make sure we do those things. But if you stub your toe, step
17 up and own it and move on.” Gallagher also responded directly to the report by stating, “Well, you
18 have to appreciate, you’re breaking pretty new ground here with this stuff. This industry historically
19 has not talked about safety. There’s no public upside to going out and talking about it.”
20          •       Defendant Gallagher’s responses are contradictory to his public stance throughout
21 2015. Previously, Gallagher called such claims “baseless assumptions and accusations” and stated
22 that the story “repeats the faulty premise that something is wrong with Allegiant. Let me be clear:
23 there is not.”
24          •       Despite Defendant Gallagher’s change of tone, Allegiant’s safety issues have
25 continued. For instance, on April 8, 2018, an Allegiant plane carrying 155 passengers and six crew
26 slid off a runway in Sioux Falls, South Dakota. Passengers were forced to exit the plane through the
27 rear stairs and go out into the snow before being transported to the terminal in buses.
28                                      29
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 30 of 56




 1          •        On April 13, 2018, CBS News announced that it would air a segment during 60
 2 Minutes two days later, criticizing Allegiant’s safety and maintenance record. This news caused

 3 Allegiant’s stock to drop $14.20 or over 8.5%, representing a decline of over $229 million in market
 4 capitalization.
 5          •        On April 15, 2018, the 60 Minutes segment aired during prime time on CBS. The
 6 episode was viewed by more than 10.4 million. The segment, titled “Allegiant Air: The Budget
 7 Airline Flying Under the Radar,” featured Steve Kroft investigating Allegiant, “a discount carrier
 8 known more for its ultra-low fares than its high record of in-flight breakdowns.” The segment
 9 revealed to the American public that: (a) Allegiant’s aircraft had a high number of serious
10 mechanical incidents between mid-2015 and October 2017; (b) Allegiant lacks the infrastructure and
11 personnel to adequately maintain their aircraft; and (c) Allegiant discouraged pilots from reporting
12 safety and maintenance issues. The transcript of the 60 Minutes segment is attached hereto as Exhibit
13 A. It touched on many of the topics explained above, including:
14          •        Allegiant has the oldest fleet in the nation, consisting mainly of MD-80s;

15          •        Allegiant had over 100 serious mechanical failures that continued at least
                     between January 2016 and October of 2017;
16
                     o      These included midair engine failures, smoke and fumes in the cabin,
17
                            rapid descents, flight control malfunctions, hydraulic leaks, and
18                          aborted takeoffs;

19          •        Industry experts feel that Allegiant is abnormally unsafe and do not fly it
                     themselves or recommend that friends or family fly on the airline;
20
            •        Aviation experts believe that “Allegiant’s problems come from the
21                   confluence of its aggressive business model and a safety culture they find to
22                   be lagging;”

23          •        Allegiant lacks the maintenance infrastructure of larger carriers, has few of
                     its own mechanics, and relies primarily on contractors. Additionally, the
24                   Company lacks “feet on the ground” to properly monitor airplane
                     maintenance;
25
26          •        Many Allegiant planes had recurring issues and others were returned to
                     service before they were ready;
27
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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 31 of 56




            •       Allegiant pilots feel that Allegiant management (including the Individual
 1
                    Defendants) seems to denigrate the pursuit of safety, some pilots even feel
 2                  that Allegiant is trying to gain a competitive cost advantage by softening
                    safety standards adhered to by the major airlines;
 3
            •       Allegiant pilots also reported management telling them to illegally not record
 4                  safety issues, the Captain Kinzer is prime example of this type of conduct;
                    and
 5
 6          •       The former FAA employee interviewed knows not to fly Allegiant.

 7          •       The Individual Defendants clearly knew about the widespread safety and

 8 maintenance issues plaguing the airline and did nothing. As noted, the Board touted in its proxy
 9 statements that its members’ experience in the airline industry left them particularly well-situated to
10 provide oversight of safety and maintenance issues. Given this public statement, the Board cannot
11 now claim that its members were unaware of the direct impact that their cost-cutting measures were
12 having on safety and maintenance. Nor can they deny that that they were aware of safety issues
13 plaguing the Company’s aircraft as it is the central issue of any aviation company. In fact, they took
14 steps to push Allegiant in the direction which led to the 60 Minutes report and the incidents described
15 within it.
16          •       Immediately following the 60 Minutes report, rather than acting to fix the deficiencies

17 that had been exposed, the Individual Defendants enlisted Defendant Gust to cover them up. In
18 response to the 60 Minutes segment, Vice President of Operations Gust issued the following
19 statement on behalf of the Company:
20          It is unfortunate and disappointing that CBS 60 Minutes has chosen to air a false
            narrative about Allegiant and the FAA. Not only do we expect our team members to
21
            adhere to all company procedures and policies -- including safety procedures -- but
22          many positions are subject to statutory and regulatory obligations. The violation of
            those obligations would trigger not only punitive action from Allegiant, but could
23          also result in enforcement action from regulatory agencies, loss of a certification, and
            even criminal charges. To suggest that Allegiant would engage in the practice of
24          asking team members to violate company and regulatory obligations is offensive and
            defamatory.
25
26          CBS produced a one-sided narrative by cherry-picking interviews and ignoring
            publicly-available facts. For example, the show’s star interviewee, John Goglia, is
27          not an un-biased commentator; he is a paid expert working for a former Allegiant

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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 32 of 56




            pilot who has sued Allegiant. That pilot, Jason Kinzer, claims that he was wrongfully
 1          terminated after an evacuation. In fact, Kinzer was terminated because he
 2          unnecessarily evacuated a plane “at great risk to the crew and passengers” even
            though there “was no smoke, fire, or an aircraft malfunction,” and, during a post-
 3          flight investigation, he refused to “acknowledge his mistakes” or “demonstrate[] that
            he was capable of learning and growing from the event going forward.” (See
 4          Defendants' Revised Motion for Summary Judgment, Eighth Judicial District Court,
            Clark County, NV, Case No. A-15-727524-C.) Surprisingly, the 60 Minutes
 5
            presentation of Mr. Kinzer's case omits this publicly-available side of the story.
 6
            The FAA exercises rigorous oversight of Allegiant, as they do all airlines operating
 7          in the United States. Allegiant complies with all FAA requirements and participates
            in numerous voluntary safety programs to ensure we operate to the highest standards.
 8          Additionally, we expect our team members to follow all company policies and
            practice strict adherence to FAA regulations and guidelines. Several anonymous,
 9          non-disciplinary reporting systems are available through Allegiant as well as through
10          the FAA for team members to report safety concerns. Notably, none of the concerns
            allegedly expressed by Allegiant team members during the 60 Minutes episode were
11          found to have been reported through any of these appropriate channels.

12          Allegiant’s team members safely operate thousands of flights each week, which will
            transport more than 14 million passengers this year. We have safely carried nearly
13          90 million passengers since beginning operations in 2001. Our workforce is made
            up of more than 4,000 dedicated and hard-working people who wake up every day
14
            thinking about how to move our customers safely from one place to another.
15
            Captain Eric Gust is Allegiant’s vice president of operations, responsible for the
16          airline’s flight operations, safety and security teams. In this role he oversees all
            system pilots and pilot training operations, regulatory compliance and flight
17          standards, and the safety and security of all operations, team members and
            passengers.
18
19 (Emphasis added).
20          •      Several of the claims in Gust’s response to the 60 Minutes report are false. For

21 example, the Air Traffic Control Transcript of the Captain Kinzer incident recounted multiple people
22 viewing or detecting fire and smoke in the cabin, which was caused by an aircraft malfunction.
23 Further, defendant Gust’s response did not have the desired effect of lessening the harm to the
24 Company’s reputation. Numerous viewers of the 60 Minutes segment thanked the producers for
25 alerting them to the danger of flying on Allegiant. Some examples of these responses included, but
26 were not limited to:
27
28                                     32
            THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 33 of 56




            •      @Allegiant Thank God for 60 Minutes, was about to book passage to
 1
                   FtLaudale this summer on your airline but no more, ever, ever-
 2
                       o Karpus & Trotsky (@LavishPolack) – April 15, 2018
 3
            •      It really stinks that those of us in rural markets with few travel options can
 4                 now never fly Allegiant ever again. But thank God that #60minutes is literally
                   saving our lives.
 5
                       o Rebecca F. Miller (@FlatheadMama) – April 15, 2018
 6
 7          •      Welp, won’t be flying #Allegiant air. Thanks for the heads up #60minutes

 8                     o CheekyChopsNJ TM🇬🇧 (@BitCheekyNJ) – April 15, 2018

 9          •      “Please start breathing through your shirts.” Welp, not flying @allegiant
                   anymore. #60Minutes
10
                       o Chris Clonts (@CClonts) – April 16, 2018
11
12          •      On April 16, 2018, U.S. Senator Bill Nelson from Florida called for an investigation

13 into how the FAA handles Allegiant’s safety issues. Senator Nelson was the top Democrat on the
14 Senate Committee on Commerce, Science and Transportation.
15          •      The fallout from the 60 Minutes report also caused the Department of

16 Transportation’s inspector general, in May 2018, to ramp up an investigation of Allegiant and
17 American Airlines that commenced in June 2017. The review initially focused on the FAA’s
18 oversight of American’ and Allegiant’s maintenance, but Department of Transportation officials
19 stated that initial reviews and requests from Congress members have prompted them to “adjust the
20 scope of this audit.” The inspector general will expand the audit and review the FAA’s independent
21 reviews and the complaints it receives from its hotline.
22          •      Allegiant’s old fleet of planes has continued to cause problems for the Company. On

23 June 14 and 15, 2018, Allegiant cancelled twelve flights to and from St. Pete-Clearwater
24 International Airport due to a delay in receiving new aircraft. The cancellations continued over
25 several days, and Allegiant came under fire for repaying customers with vouchers worth far less than
26 they originally paid for their flights. For example, one customer paid $435 for his ticket and only
27 received a $225 voucher.
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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 34 of 56




 1          •       Then, on July 5, 2018, a flight departing Cedar Rapids, Iowa was forced to make an
 2 emergency landing due to smoke in the cabin. A passenger said, “The plane started taking off and

 3 my wife started smelling an electrical smoke. We looked around as we were taking off and started
 4 seeing haze from smoke.”
 5          C.      Defendants Obtain Shareholder Approval For An Incentive Compensation Plan
                    While Concealing Allegiant’s Safety Problems
 6
            •       On May 16, 2016, defendants Gallagher, Brewer, Ellmer, Marvin, Pollard, and
 7
     Redmond issued the May 2016 Proxy soliciting shareholder votes in advance of the Company’s
 8
     annual meeting to be held June 30, 2016. In the proxy statement, these Individual Defendants
 9
     solicited shareholder votes in favor of management proposals including the approval of the
10
     Company’s 2016 Long-Term Incentive Plan (“2016 LTIP”).
11
            •       The May 2016 Proxy touted the Board’s experience, and claimed that it rendered the
12
     Board able to “meaningfully participate in the oversight” of maintenance and safety. In the section
13
     on “Related Party Transactions,” the May 2016 Proxy disclosed that the Company made payments
14
     of $2.9 million to entities owned or controlled by Gallagher for the building of corporate training
15
     content, and claimed that this arrangement would provide a “more cost effective training program
16
     as well as better training throughout our organization which should contribute to a safer, better
17
     operation.”
18
            •       The May 2016 Proxy failed to disclose material facts, known to the Board members,
19
     necessary to make these and other statements not misleading. Specifically, the May 2016 Proxy
20
     failed to disclose that the Board had instituted other cost-cutting measures that had material and
21
     negative impacts on the Company’s safety and maintenance programs. Nor did the Board disclose
22
     that, as a result of this cost-cutting, the Company had experienced and, if not corrected, would
23
     continue to experience dangerous lapses in aircraft maintenance that would put customers at risk
24
     and, ultimately, create a financial risk to the Company.
25
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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 35 of 56




            D.      Certain Defendants Illegally Sell Allegiant Stock to Reap the Benefit of Material
 1                  Non-Public Information
 2          •       With the knowledge that Allegiant’s stock price was artificially inflated and that they
 3 caused Allegiant to fail to maintain proper safety and maintenance procedures, Gallagher, Anderson,
 4 Sheldon, Redmond, and Ellmer (collectively, the “Insider Selling Defendants”), in contravention of
 5 their fiduciary duties and for their own benefit, illegally sold more than $50.85 million worth of their
 6 personally-held Allegiant stock when they were in possession of material non-public information.
 7 Over $2.3 million worth of the sales occurred after the Individual Defendants learned about the
 8 subject matter of the 60 Minutes segment and that it was set to air in the near future.
 9          •       Defendant Gallagher was aware of material, adverse, and non-public information
10 regarding Allegiant’s safety deficiencies and the Company’s statements related thereto. While in
11 possession of this information, Gallagher sold 504,845 shares of Allegiant stock between June 2014
12 and May 2018, at artificially-inflated prices, for proceeds of approximately $83,073,245. Gallagher
13 sold 12,465 shares for proceeds of over $2 million one month before the 60 Minutes segment aired.
14 At this time, Gallagher was specifically in possession of material inside information in that he knew
15 60 Minutes was preparing to air a report that would be extremely damaging to the Company and its
16 stock price. By way of his position as both a director and CEO, Gallagher was also aware of FAA
17 violations (set forth below) occurring at the same time as his stock sales.
18          •       Defendant Anderson is Allegiant’s Principal Accounting Officer and Senior Vice
19 President of Treasury. Anderson was aware of material, adverse, and non-public information
20 regarding Allegiant’s safety deficiencies and the Company’s statements related thereto. While in
21 possession of this information, Anderson sold 3,150 shares of Allegiant stock between May 23,
22 2017, and March 13, 2018, at artificially-inflated prices, for proceeds of approximately $507,238.77.
23 Anderson sold 1,650 shares for proceeds of almost $300,000 approximately one month before the
24 60 Minutes segment aired. At this time, Anderson was specifically in possession of material inside
25 information in that he knew 60 Minutes was preparing to air a report that would be extremely
26
27
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             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 36 of 56




 1 damaging to the Company and its stock price. Likewise, Anderson was aware of FAA violations
 2 (set forth below) through his position at Allegiant at the same time as his stock sales.

 3          •       Defendant Ellmer is a member of the Allegiant Board and Audit, Ethics, Nominating,
 4 and Compensation Committees. Ellmer was aware of material, adverse, and non-public information
 5 regarding Allegiant’s safety deficiencies and the Company’s statements related thereto. While in
 6 possession of this information, Ellmer sold 3,420 shares of Allegiant stock between June 2014, and
 7 May 2018, at artificially-inflated prices for proceeds of approximately $569,257. Ellmer sold 120
 8 shares for proceeds of over $21,000 approximately one month before the 60 Minutes segment aired.
 9 At this time, Ellmer was specifically in possession of material inside information in that he knew 60
10 Minutes was preparing to air a report that would be extremely damaging to the Company and its
11 stock price. Likewise, Ellmer was aware of FAA violations (set forth below) through his position
12 at Allegiant at the same time as his stock sales.
13          •       Defendant Redmond is Allegiant’s President and a member of the Board. Redmond
14 was aware of material, adverse, and non-public information regarding Allegiant’s safety deficiencies
15 and the Company’s statements related thereto. While in possession of this information, Redmond
16 sold 7,500 shares of Allegiant stock between August 3, 2015, and August 12, 2015, at artificially-
17 inflated prices for proceeds of approximately $1,679,895.00.          Redmond was aware of FAA
18 violations (set forth below) through his position at Allegiant at the same time as his stock sales.
19          •       Defendant Sheldon is Allegiant’s CFO and COO. Sheldon was aware of material,
20 adverse, and non-public information regarding Allegiant’s safety deficiencies and the Company’s
21 statements related thereto. While in possession of this information, Sheldon sold 20,188 shares of
22 Allegiant stock between August 3, 2015, and October 27, 2017, at artificially-inflated prices for
23 proceeds of approximately $3,349,480. Sheldon was aware of FAA violations (set forth below)
24 through his position at Allegiant at the same time as his stock sales.
25          •       The insider sales total over $91.5 million in proceeds and were executed while
26 Allegiant’s stock price was artificially inflated due to the unlawful conduct alleged herein.
27
28                                      36
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 37 of 56




 1          E.      The Individual Defendants Breached Their Fiduciary Duties
 2          •       The Company’s improper safety and maintenance functions and dissemination of

 3 false and misleading statements related thereto were the direct result of the Individual Defendants’
 4 breaches of fiduciary duties. Specifically, as discussed herein, the Individual Defendants’ false and
 5 misleading statements artificially inflated Allegiant’s stock price by misrepresenting and concealing
 6 the truth that: (a) Allegiant lacked adequate systems to ensure its aircraft were being properly
 7 maintained; and (b) Allegiant was not operating responsibly and ethically or providing safe working
 8 conditions for its employees.
 9          •       The Individual Defendants touted in the Company’s proxy statements that their long
10 experience in the airline industry left them particularly well-suited to oversee the safety and
11 maintenance aspects of the Company. Yet, the Individual Defendants knew for years about the
12 Company’s improper safety and maintenance procedures, yet failed to correct them. As such, the
13 Individual Defendants knew of the reporting problems but did nothing to rectify or prevent them.
14          •       First, the Individual Defendants breached their fiduciary duties by knowingly
15 employing improper reporting practices at the Company in violation of applicable regulations and
16 rules, and then knowingly disseminated false and misleading filings resulting therefrom. Indeed,
17 the Individual Defendants’ false and misleading statements, as alleged above, have subjected
18 Allegiant to the Securities Class Action.
19          •       Second, the above misrepresentations had the effect of artificially inflating
20 Allegiant’s stock price, which the Insider Selling Defendants were aware of. In contravention of
21 their fiduciary duties and for their own benefit, the Insider Selling Defendants unloaded more than
22 $6.4 million worth of their personally held Allegiant stock at artificially-inflated prices.
23          •       As a direct and proximate result of the Individual Defendants’ breaches of their
24 fiduciary duties, the Company has sustained damages, including, but not limited to, costs and
25 expenses incurred in connection with the Securities Class Action, the Captain Kinzer wrongful
26 termination action, the Kuhn personal injury suit, lost ticket sales, and increased regulatory scrutiny.
27          F.      Systematic Issues Continued For Years
28                                      37
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
         Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 38 of 56




 1           •        Plaintiffs obtained documents from the FAA pursuant to a FOIA request.                     Those
 2 documents demonstrate that pervasive safety and maintenance problems persist to this day and

 3 present significant risks to the Company’s operations, which the Individual Defendants, as members
 4 of Allegiant’s board and management, knew about.
 5           •        Similarly, media reports confirm that Allegiant aircraft continue to suffer from
 6 emergency landings and incidents due to maintenance problems. The website AeroInside publishes
 7 a long list of airline incidents for Allegiant.1 There are numerous other press reports of emergency
 8 landings for Allegiant aircraft. For example, in June 2019, federal safety regulators proposed a fine
 9 of more than $715,000 against Allegiant, saying that the airline failed to fix properly an engine that
10 put out hotter than normal exhaust fumes.2 In the same month, another Allegiant flight made an
11 emergency landing in Las Vegas due to smoke in the cockpit and plane cabin.3 In July 2019, Fox
12 Carolina reported that an Allegiant flight made an emergency landing at Asheville Regional Airport
13 in North Carolina shortly after takeoff when an indicator light came on in the cockpit.4 In January
14 2020, and Allegiant Air flight from Ohio to Florida with 151 passengers and six crew made an
15 emergency landing at Asheville Regional Airport, North Carolina, after an indicator light came on
16 in the cockpit.5
17           •        Plaintiffs sought records concerning FAA actions and/or investigations of Allegiant
18 between March 2015 and November 2019 (i.e., the date of the request) and received over 600 records
19 from just one of three offices handling the request.
20
21   1
       https://www.aeroinside.com/incidents/airline/allegiant.
     2
22     Associated Press, “FAA Proposes $715,000 Fine for Allegiant Over Engine Work,” The Morning Call, June 17,
     2019, found at https://www.mcall.com/business/mc-biz-faa-allegiant-fine-20190616-oiv3rva4ereq7d2edof73beszy-
23   story.html
     3
       Almendra Carpizo, “Allegiant Air Flight Makes Emergency Landing Due to Smoke in the Cockpit,” Vision Safe,
     June 9, 2019, found at https://www.visionsafe.com/2019/06/09/allegiant-air-flight-makes-emergency-landing-due-to-
24   smoke-in-the-cockpit/.
     4
       Dal Kalsi, “Official: Allegiant Flight Makes Safe Emergency Landing at Ashville Regional Airport,” July 1, 2019,
25   Fox Carolina, found at https://www.foxcarolina.com/news/official-allegiant-flight-makes-safe-emergency-landing-at-
     asheville-regional/article_1ff80a82-9c1f-11e9-989c-1721759ab248.html.
26   5
       Associated Press, “Report: Allegiant Flight in Emergency Landing, No Injuries,” U.S. News and World Report,
     January 2, 2020, found at https://www.usnews.com/news/us/articles/2020-01-02/report-allegiant-flight-in-emergency-
27   landing-no-injuries.

28                                       38
              THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 39 of 56




 1          •       Specifically, the FAA recorded 125 unplanned landings in that period, including 52
 2 emergency landings due to maintenance problems. For example:

 3                  (a)     On April 2, 2015, the pilot returned Allegiant flight AAY962 to St. Pete—
 4 Clearwater International Airport (“PIE”) due to an unspecified light indication in the cockpit.
 5 Maintenance later found the left thermostat base gasket leaking and a broken right pack distribution
 6 duct.
 7                  (b)     On July 3, 2015, the crew smelled burning rubber when Allegiant flight
 8 departing PIE was 33,000 feet above sea level. They also heard a grinding noise coming from the
 9 center pedestal close to the throttle quadrant. After the crew turned off the auto throttles, the burning
10 smell dissipated, but a vibration started. The crew shut off the engine and declared an emergency
11 landing. When maintenance later performed an inspection, they found the first stage compressor to
12 be severely damaged and replaced the engine.
13                  (c)     On August 3, 2015, a breakdown of engine #1 caused Allegiant flight MY848,
14 en route to Richmond International Airport, to divert to Piedmont Triad International Airport. While
15 the flight was cruising at 33,000 feet, the auto throttle quadrant started making a grinding sound and
16 there was a faint smell of rubber. When descending, the #1 engine began to roll back and produced
17 thrust. The crew started an inflight shutdown and declared an emergency when they felt a vibration.
18 An on-scene investigation showed that the engine had ingested a solid object damaging the intake
19 fans and surrounding intake ducting.
20                  (d)     On February 1, 2017, Allegiant flight AAY172 declared an emergency
21 because of a nose gear indication, and the flight crew made a low approach for a tower visual. The
22 controller advised that the gear appeared down. Though the pilot was able to return the aircraft to
23 Gerald R. Ford International Airport, the flight crew was unable to steer with either tiller. When
24 maintenance later troubleshot the system, they found water in a steering servo connector.
25                  (e)     On July 3, 2017, an engine failed during ascent from Springfield-Branson
26 National Airport. The crew declared an emergency and returned to the airport, and the left engine
27 was later replaced.
28                                      39
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 40 of 56




 1                  (f)     On July 26, 2017, Allegiant flight No. AA532, headed to Cincinnati from Las
 2 Vegas, was diverted for maintenance and returned to Las Vegas. Maintenance records show that

 3 during takeoff, a loud noise and accompanying vibrations were felt throughout the cabin and were
 4 centered on the right hand wing root area. An inspection showed that the support between the zero
 5 and one left hand slats was worn and broken and that the securing nut for the pin and bearing pin
 6 assembly were very loose and almost missing.
 7                  (g)     On July 18, 2018, an Allegiant aircraft made an emergency landing due to
 8 loss of engine power in the right engine. Maintenance found metal in the master chip detector, main
 9 oil filter, and fuel filter and replaced the engine due to a gearbox failure.
10                  (h)     An Allegiant aircraft’s engine controls had been failing since August 21, 2019
11 but minimum equipment listed and reinstalled repeatedly with different numbers. The minimum
12 equipment list (“MEL”) is an aircraft-specific document which describes the equipment that may be
13 allowed to be inoperable and any procedures required for the aircraft to operate under specific
14 conditions while maintaining airworthiness. On August 28, 2019, the aircraft engine experienced
15 an inflight shutdown. On September 2, 2019, the aircraft engine failed during thrust reduction and
16 an attempted restart failed; the crew declared an emergency landing. Inspectors later found the left
17 engine hydromechanical unit was leaking fuel in the wiring harness.
18          •       In addition, the FAA recorded over 192 instances where an Allegiant flight aborted
19 takeoff due to maintenance problems with the aircraft. For example:
20                  (a)     On or about April 8, 2015, an Allegiant aircraft leaving Orlando Sanford
21 International Airport (“SFB”) aborted takeoff because the right engine pressure ratio gauge was
22 stuck, indicating that the engine was not making power and the spool up time or acceleration time
23 was slow on the right engine. Maintenance personnel performed performance runs and reset the
24 engine control unit before the aircraft was returned to service.
25                  (b)     Around May 2015, an Allegiant aircraft departing IND aborted takeoff at 79
26 knots because the electronic centralized aircraft monitor (“ECAM”) cautioned “Door L Aft Cabin.”
27 Maintenance found a broken proximity switch on the left aft passenger/crew door.
28                                      40
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 41 of 56




 1                  (c)     In October 2015, an Allegiant aircraft leaving McCarran International Airport
 2 (“LAS”) in Las Vegas aborted takeoff because “engine turbine wheel 4th stage completely exited

 3 through the aft end of the engine assembly, with signs of post shutdown fire in the combustion
 4 section.” The 2nd and 3rd stage turbines also sustained significant damage. Passengers deplaned
 5 through the aft exit stairwell, and components of the turbine wheels were found over an 800-foot
 6 area on the runway.
 7                  (d)     On March 5, 2016, Allegiant flight No. 891 departing Fort Wayne aborted
 8 takeoff because the #2 engine failed when the aircraft reached 110 knots. When the FAA arrived at
 9 the airport, the engine change crew was changing the #2 engine. The tach generator housing and
10 nose cone had broken off at all the mounting bolt locations and remained in the engine inlet.
11                  (e)     Around March 2017, flight crew aboard an Allegiant flight departing PIE felt
12 an abrupt jolt and yaw to the left during takeoff roll at approximately 90 knots, and the pilots aborted
13 the takeoff. The crew taxied to the gate with the #1 engine shut down, and maintenance reported a
14 #1 engine failure, contained within cowling and liners. Metal debris exited the exhaust section, and
15 several pieces of blades and vanes were recovered. Further inspection showed that the T-3 blade
16 had failed, resulting in downstream failures in the turbine.
17                  (f)     On March 29, 2017, the flight instrument panel went dark on Allegiant flight
18 No. 652 departing SFB, and pilots were unable to change course, altitude, or navigation frequency.
19                  (g)     On July 20, 2017, the flight crew aboard Allegiant flight No. AA533 pulled
20 the Fire-T handle when the right engine seized during takeoff.            Maintenance found that an
21 approximately 5” x 12” piece of the engine inlet acoustic material had delaminated and was ingested
22 by the engine.
23                  (h)     On August 13, 2017, the left engine compressor stalled, causing Allegiant
24 flight 1218Z leaving SFB to abort takeoff. A later inspection revealed fan blades with damaged
25 seals and a damaged case rub strip.
26                  (i)     On May 18, 2018, pilots heard the left pneumatic air cycle kit (“pack”) fail
27 aboard Allegiant flight No. AAY742 leaving SFB. Maintenance crew found a loose sense line and
28                                      41
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 42 of 56




 1 replaced two pressure switches and both primary and second heat exchangers on the left pack.
 2 Though the aircraft was returned to service, the same problem occurred the next day and the NC

 3 pressure regulator was replaced.
 4                  (j)    In June 2018, crew outside Allegiant flight No. AAY624 noticed black smoke
 5 coming from the auxiliary power unit (“APU”) exhaust. When the panel was pulled back, they saw
 6 flames and informed the captain. Passengers were deplaned through the jetbridge, and maintenance
 7 later reported that the fire started from the bottom of the hot section area.
 8                  (k)    On September 14, 2018, Allegiant flight No. AAY1798 departing Jefferson
 9 County, Kentucky, aborted takeoff due to a hydraulic failure and loss of nose steering, and the
10 aircraft was towed back to the gate. When the aircraft was inspected, the maintenance provider
11 reported a severe hydraulic leak in the left hand gear well and found a failed flexible hydraulic line.
12                  (l)    On October 20, 2018, passengers reported that they smelled smoke while
13 Allegiant flight No. AAY2132 was on the runway departing SFB. Maintenance found that the APU
14 had a significant oil leak and replaced the APU, the left and right water separator coalescer bags,
15 and the right PRSOV.
16                  (m)    On November 21, 2018, Allegiant flight No. AAY2228 departing SFB
17 aborted takeoff due to poor wheel rotation and taxied back to the gate. Inspectors later found that
18 the hub cap pins for one of the wheels were not secured.
19                  (n)    In September 2019, a brake failure caused an Allegiant aircraft to abort
20 takeoff in Las Vegas. The plane was returned to service after the brake system was reset to normal
21 operating condition, but the same problem occurred on September 9, 10, 12, 13, and 14.
22          •       The records also show 141 instances of maintenance problems. Among other issues,
23 the records reflect the following FAA violations:
24                  (a)    On February 15, 2018, a ramp inspection of an Allegiant aircraft revealed
25 several discrepancies: (i) Right wing emergency exit door placards partially missing and or not
26 legible, contrary to federal regulations; and (ii) #1 Right Hand service door was partially missing
27 the emergency exit door placard, contrary to federal regulations. On March 21, 2018 an email was
28                                      42
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 43 of 56




 1 sent from the Allegiant Certificate Management Unit (CMU) to their Director of Quality concerning
 2 the issues mentioned above. On April 16, 2018 Allegiant responded that it had conducted an

 3 investigation into the matter to determine the root cause of the findings and develop comprehensive
 4 fixes. Upon receipt and review of Allegiant’s Regulatory Compliance Reports, the Certificate
 5 Management Team (“CMT”) rejected the “comprehensive fix” as inadequate to address the concerns
 6 raised by the FAA. Allegiant met with CMT and revised its compliance report to mitigate human
 7 factors.
 8                 (b)     On April 13, 2018, an Allegiant aircraft exceeded left engine exhaust gas
 9 temperature, and when the flight landed at SFB, maintenance entered the following discrepancy on
10 the Allegiant Maintenance Log: “Left engine exceeded take off parameters.” The quality control
11 inspector subsequently took corrective action and cleared the situation in the maintenance log,
12 placing his quality inspection stamp on the document. During the course of an investigation, it was
13 determined that between April 14, 2018 through April 23, 2018 Allegiant dispatched and operated
14 the aircraft in scheduled revenue commercial air transportation for 28 flights with an un-
15 approved/un-authorized maintenance deferral and in an un-airworthy condition. On June 11, 2018,
16 the Pacific Certificate Management Office sent a letter stating that “The ART deferral is to be
17 utilized when the ART system is inoperative only and is an inappropriate corrective action for an
18 EGT exceedance.” The FAA found federal regulations violations and initiated civil penalties.
19                 (c)     On October 10, 2018, the FAA recorded that Allegiant mechanics were
20 “pencil whipping” their assigned inspections and work; that is, they completed records without
21 actually performing the maintenance. Though mechanics were assigned a 4A 1 check maintenance,
22 an investigation showed that the lubrication procedures for their assigned task card either were not
23 done properly or not done at all. The mechanics improperly filled out and signed off on their task
24 card and improperly signed off on the aircraft logbook without completing the maintenance task.
25                         DERIVATIVE AND DEMAND ALLEGATIONS
26            •    Plaintiffs incorporate by reference and realleges each and every allegation set forth
27 above, as though fully set forth herein.
28                                       43
              THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 44 of 56




 1          •       Plaintiffs bring this action derivatively in the right and for the benefit of the Company
 2 to redress the Individual Defendants’ breaches of fiduciary duties.

 3          •       Plaintiffs are owners of Allegiant common stock and were owners of Allegiant
 4 common stock at all times relevant hereto. As a result of the facts set forth herein, Plaintiffs have
 5 not made any demand on the Board to institute this action against the Individual Defendants. Such
 6 demand would be a futile and useless act because the Board is incapable of making an independent
 7 and disinterested decision to institute and vigorously prosecute this action.
 8          •       At the time of filing this Complaint, Allegiant’s Board consists of seven directors:
 9 Defendants Gallagher, Redmond, Pollard, Marvin, Ellmer, and Brewer, and non-party Harrison.
10 Pre-suit demand would be futile if four of the seven directors are found to be interested or have
11 conflicting loyalties. As set forth herein, the Individual Defendants were involved in cutting
12 operational costs leading to the safety issues and suffered from conflicting loyalties through their
13 allegiance to Gallagher. Notably, the Company’s proxy statements asserted that “having a small
14 board with directors with substantial relevant industry experience” was a benefit to the Company.
15 However, the proxy statements did not disclose that the Board consisted of individuals hand-picked
16 by Gallagher and who maintained close professional relationships with him, thereby rendering them
17 incapable of exercising independent judgment and decision-making.
18
            A.      Demand is Excused as to a Demand to Investigate and Take Action Against
19                  Gallagher
20                  1.     Gallagher Would be Interested in a Demand
21
            •       As CEO and Chairman of Allegiant, at all relevant times Gallagher ran Allegiant’s
22
     operations and business. The Company concedes that Gallagher is not an independent director. As
23
     explained by the Company’s most recent proxy statement, Gallagher personally founded, developed,
24
     and implements Allegiant’s business strategy: he “has been actively involved in the management of
25
     our company since he became our majority owner and joined our board of directors in 2001.”
26
     Gallagher is “the founder of our business strategy” who provides “strategic direction” to the Board.
27
28                                      44
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 45 of 56




 1 The Company proxy statement elsewhere represents that Gallagher “has led the development and
 2 implementation of our business strategy” since 2001. “As chairman and chief executive officer, Mr.

 3 Gallagher provides clear direction for both the operations of our Company and board deliberations.
 4          •      As set forth above, Allegiant’s business strategy, which Gallagher personally
 5 developed and implemented, consisted of reducing costs through low aircraft ownership costs,
 6 outsourcing maintenance at small and medium sized airports, and using expedited turnaround times.
 7 Indeed, the Company’s 2017 Form 10-K, signed by Gallagher, explains:
 8
            We believe a low cost structure is essential to competitive success in the airline
 9          industry….
10          Low Aircraft Ownership Costs. We achieve low aircraft ownership costs by
            purchasing primarily used aircraft with meaningful remaining useful lives, at reduced
11          prices….
12          Highly Productive Workforce. Our high level of employee productivity is due to our
            cost-driven scheduling, fewer unproductive labor work rules, and the effective use of
13          automation and part-time employees….
14          Small and medium-sized city market airports. Our business model focuses on
            residents of small and medium-sized cities in the United States. Typically, the airports
15          in these cities have lower operating costs than airports in larger cities. These lower
            costs are driven by less expensive passenger facilities, landing, and ground service
16          charges.…
17          Cost-driven schedule. We build our schedule so that our crews and aircraft return to
            base each night. This allows us to maximize crew efficiency, and more cost-
18          effectively manage maintenance, spare aircraft and spare parts….
19          •      Even while touting this strategy, Gallagher was aware of the repeated non-public
20 FAA violations that were putting the Company at risk. The Company’s public filings expressly state
21 that Gallagher created Allegiant’s business strategy and is personally responsible for implementing
22 it, and that the business strategy specifically includes the cost reduction elements alleged herein to
23 have led to repeated safety issues. The only reasonable inference is that Gallagher was aware when,
24 in 2015, the Company’s planes began repeatedly breaking down in mid-air.
25          •      It was due to his role issuing Allegiant’s public statements and his scienter as the
26 chief of operations that designed the Company’s business strategy that this Court denied the motion
27 to dismiss in the Securities Class Action.
28                                      45
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 46 of 56




 1          •      Gallagher would be interested in a demand regarding the safety problems because as
 2 the Company has repeatedly publicly admitted in filings signed by him, Gallagher personally

 3 designed the low cost strategy that is alleged to have led to the safety problems, and he personally
 4 oversaw the implementation of the strategy. Moreover, securities fraud claims were sustained
 5 against him for the same conduct. In responding to a demand to investigate and take action against
 6 management in connection with the wrongdoing alleged herein, Gallagher would be forced to
 7 evaluate his own state of mind and knowledge of safety issues in a disinterested manner putting the
 8 interests of the Company before his own, in a situation where he already faced and settled securities
 9 fraud claims arising from related facts. The reasonable inference is that he could not do so
10 disinterestedly. As a result, Gallagher would be interested in a demand.
11                 2.      A Majority of the Board is Not Independent of Gallagher
12          •      Gallagher, founder of Allegiant and its largest shareholder, stocked the Board with
13 directors beholden to him. He did this by nominating to the Board directors with whom he had long-
14 term business relationships and who did not have other relevant public board experience. As a result,
15 these directors were and are beholden to Gallagher for their prestigious positions on Allegiant’s
16 Board and the compensation they receive as directors.
17          •      Demand is futile as to Marvin because she has a long-standing and lucrative business
18 relationship with Defendant Gallagher, which has existed since 1988. Defendant Marvin began her
19 career working in aviation alongside Defendant Gallagher at WestAir as a Controller until 1994.
20 Defendant Gallagher was at all times the principal owner, an executive officer, and a director of
21 WestAir, from 1983 to 1992. When defendant Gallagher moved on to found Mpower
22 Communications Corp. in 1996, he brought Defendant Marvin onboard to serve in various high-
23 level positions at his communications company, culminating in her serving as CFO from 1998 to
24 1999, as well as a Senior Vice President of Finance from 1999 to 2001. Defendant Gallagher went
25 on to form Allegiant, and once again, Defendant Marvin followed him to the Company, serving as
26 Allegiant’s CFO and Principal Accounting Officer from September 2001 to September 2007 and a
27 part-time consultant from September 2007 to May 2008, before taking on her current position as a
28                                      46
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 47 of 56




 1 director.    As noted in the CtW letter, Defendants Gallagher and Marvin have a uniquely
 2 interdependent business relationship, even living within one mile from each other for over a decade.

 3 Marvin does not serve on the board of any other publicly traded company and never has. Defendant
 4 Marvin will remain loyal to Defendant Gallagher as a result of the lucrative positions she received
 5 and to avoid losing future opportunities. The reasonable inference is that Marvin is not independent
 6 of Gallagher and could not disinterestedly consider a demand against Gallagher.
 7          •      Demand is futile as to Redmond because he has an interwoven business relationship
 8 with Defendant Gallagher, which prevents him from independently considering a demand against
 9 him. Defendant Redmond is part of a partnership with Gallagher that owned the property that
10 Allegiant leased as its headquarters in Las Vegas. Redmond owns 11% of the partnership and
11 Gallagher owns 30%. Although the Company terminated the lease in May 2015, it paid $1.3 million
12 to settle litigation against the owners. During the term of the lease, defendants Gallagher and
13 Redmond received substantial benefits from their joint ownership in the property leased by
14 Allegiant. The reasonable inference is that Redmond, who is currently involved in non-Allegiant
15 business with Gallagher, is not independent of Gallagher and could not disinterestedly consider a
16 demand against Gallagher.
17          •      Demand is futile as to Ellmer because of his preexisting professional relationship
18 with Defendant Gallagher, which prevents him from independently considering a demand against
19 him. Ellmer does not serve on the board of any other publicly traded company and never has. From
20 1988 to 1994, Ellmer served as Vice President of Maintenance and Engineering at Gallagher’s
21 WestAir. Ellmer has a business relationship with Gallagher that spans thirty-five years and which
22 constituted and different times Ellmer’s primary source of income. The reasonable inference is that
23 Ellmer is not independent of Gallagher and could not disinterestedly consider a demand against
24 Gallagher.
25          •      Demand is futile as to non-party Harrison as well. Harrison has a longstanding
26 business relationship with Gallagher and has served as Gallagher’s subordinate for decades.
27 Harrison previously served as an executive officer of the Company from 2002 until 2009, during
28                                     47
            THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 48 of 56




 1 which period he was responsible for marketing and sales, pricing and revenue management, inflight
 2 and people services, distribution and e-commerce strategies. Harrison continued to consult with the

 3 Company from 2009 until March 2017 when he joined the Company as its executive vice president.
 4 Prior to his work with Allegiant, Harrison as vice president of sales and marketing for Gallagher’s
 5 notorious ValuJet Airlines from its commencement of business in 1993. After its merger with
 6 AirTran, he served as senior vice president of marketing until 1998. While Harrison is not alleged
 7 to have overseen the wrongdoing alleged herein, he has been Gallagher’s subordinate in different
 8 roles for nearly thirty-years, during which time Gallagher’s companies provided Harrison with his
 9 primary source of income. The reasonable inference is that Harrison is not independent of Gallagher
10 and could not disinterestedly consider a demand against Gallagher.
          B.      Demand is Additionally Excused to the Director Defendants Because the
11                Members Face a Substantial Likelihood of Liability
12          •       Demand is futile as to all Director Defendants because they face a substantial
13 likelihood of liability for breaching their fiduciary duties for knowingly and deliberately approving
14 the Company’s dangerous cost-cutting safety measures despite their multiple decades’ worth of
15 knowledge of air travel and the airline industry (as described above). Even after Allegiant was sued
16 in the Securities Class Action and the Company purchased new aircraft, the Director Defendants still
17 evade maintenance procedures to this day, thereby endangering Allegiant’s passengers.               The
18 Director Defendants put profits ahead of the safety of the Company’s passengers and crew and in
19 turn endorsed illegal actions.
20          •       Demand is futile as to all Director Defendants because they face a substantial
21 likelihood of liability for violating Section 14 of the Securities Exchange Act of 1934 by
22 misrepresenting their activities in connection with risk and safety management in order to obtain
23 shareholder approval of the 2016 LTIP which each of them was personally enriched by. In addition
24 to facing a substantial likelihood of liability for their violations of Section 14, each of the Director
25 Defendants would be interested in a demand regarding the violations because they each received
26 compensation under the 2016 LTIP as a direct result of the shareholder vote approving it.
27
28                                      48
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 49 of 56




 1          •       Demand is futile as to Gallagher because he faced a substantial likelihood of liability
 2 as he was named as a defendant in the Securities Class Action, and any investigation of this

 3 misconduct could potentially increase his liability in that case, and therefore Gallagher was
 4 conflicted from investigating the Company’s misconduct and cannot independently consider a
 5 demand. Even though the Securities Class Action is now settled, Gallagher continues to remain
 6 interested in the outcome of all litigation which is targeting his management of Allegiant. The terms
 7 of Gallagher’s settlement and contribution to the Securities Class Action have not been publicly
 8 disclosed.
 9          •       Demand is futile as to Marvin, Ellmer, and Pollard because as Audit Committee
10 members (as well as Redmond as a former member) their purpose, pursuant to the Audit Committee
11 Charter, was to assist the Board in fulfilling its oversight responsibilities with respect to financial
12 reports and other financial information. In this regard, the Audit Committee was to serve on the
13 independent and objective body to oversee, inter alia: (i) the integrity of the Company’s financial
14 statements, (ii) the Company’s compliance with legal and regulatory requirements, (iii) the
15 independent auditors’ qualifications and independence, (iv) the performance of the Company’s
16 internal audit function and independent auditors; and (v) the Company’s overall risk management
17 profile. Marvin, Ellmer, Pollard, and Redmond as Audit Committee members and pursuant to the
18 Audit Committee Charter, had the responsibilities to, inter alia:
19                  •      Oversee the quality and objectivity of the Company’s financial
                           statements and the independent audit thereof by, among other things,
20                         reviewing and appraising the audit efforts of the Company’s
                           independent auditors;
21
                    •      Oversee that management has maintained the reliability and integrity
22
                           of the Company’s accounting policies and financial reporting and
23                         disclosure practices;

24                  •      Oversee that management has established and maintained adequate
                           systems of disclosure controls and procedures and internal controls
25                         over financial reporting;
26
27
28                                      49
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 50 of 56




                    •       Oversee that management has established and maintained processes
 1
                            to assure compliance by the Company with all applicable laws,
 2                          regulations and corporate policy;

 3
            •       In performing their duties as Audit Committee members, Marvin, Ellmer,
 4
     Pollard, and Redmond knew that the Company’s financial statements were inaccurate and
 5
     misleading, yet they knowingly approved the filing and dissemination of the financial
 6
     statements, and therefore face a substantial likelihood of being held liable for breaching their
 7
     fiduciary duties.
 8
            •       Demand is futile as to Gallagher, Redmond, and Ellmer because they face a
 9
     substantial likelihood of being held liable for breaching their fiduciary duties of loyalty and
10
     good faith for engaging in illegal insider trading of Allegiant securities as described herein,
11
     and therefore are incapable of disinterestedly and independently considering a demand to
12
     commence and vigorously prosecute this action.
13
                                                   COUNT I
14                   Against the Individual Defendants for Breach of Fiduciary Duty
15          •       Plaintiffs incorporate by reference all preceding and subsequent paragraphs as if fully
16 set forth herein.
17          •       The Individual Defendants each owed Allegiant and its stockholders the fiduciary
18 duties of loyalty, good faith, candor, and due care in the managing and administering of the
19 Company’s affairs.
20          •       The Individual Defendants were required to exercise reasonable and prudent
21 supervision over the management, practices, controls, and financial affairs of Allegiant.
22          •       The Individual Defendants breached their fiduciary duties owed to Allegiant and is
23 stockholders by willfully, recklessly, and/or intentionally failing to perform their fiduciary duties as
24 set forth above. They caused the Company to waste valuable assets and unnecessarily expend
25 corporate funds.      They also failed properly to oversee Allegiant’s business, rendering them
26 personally liable to the Company.
27
28                                      50
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 51 of 56




 1           •       Each of the Individual Defendants had actual or constructive knowledge that
 2 Allegiant was engaging in a scheme to keep safety and maintenance costs low – sacrificing the safety

 3 of its customers and crew – in order to achieve high profits. The Individual Defendants continued
 4 to allow the scheme to occur and the weak policies to remain, thereby harming the Company and its
 5 customers and crew.
 6           •       As a direct and proximate result of the Individual Defendants’ breaches of their
 7 fiduciary duties of loyalty, good faith, candor, and due care, Allegiant has sustained, and continues
 8 to sustain, significant damages. As a result of the misconduct alleged herein, the Individual
 9 Defendants are liable to the Company
10                                                 COUNT II
11                         Against the Insider Selling Defendants for Breach of
                 Fiduciary Duties of Loyalty and Good Faith Regarding Insider Stock Sales
12
             •       Plaintiffs incorporate by reference all preceding and subsequent paragraphs as if fully
13
     set forth herein.
14
             •       At the time of the stock sales set forth herein, Gallagher, Anderson, Sheldon,
15
     Redmond, and Ellmer knew, but did not disclose publicly, that the Company had improper safety
16
     and airplane maintenance practices, that the Company’s stock price was inflated, and that the
17
     Company was being scrutinized by the FAA and several investigatory news organizations.
18
     Gallagher, Anderson, Sheldon, Redmond, and Ellmer made the stock sales described herein on the
19
     basis of their knowledge of the material non-public information described herein.
20
21
             •       Gallagher, Anderson, Sheldon, Redmond, and Ellmer’s sales of Allegiant common
22
     stock based on their knowledge of this material non-public information was a breach of their
23
     fiduciary duties of loyalty and good faith.
24
             •       Since the use of the Company’s inside information for their own gain constitutes a
25
     breach of Gallagher, Anderson, Sheldon, and Ellmer’s fiduciary duties, the Company is entitled to
26
27
28                                      51
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 52 of 56




 1 the imposition of a constructive trust on any proceeds Gallagher, Anderson, Sheldon, Redmond, and
 2 Ellmer obtained thereby.

 3                                              COUNT III
 4   Against the Insider Selling Defendants for Unjust Enrichment Regarding Insider Stock Sales

 5          •      Plaintiffs incorporate by reference all preceding and subsequent paragraphs as if fully
 6 set forth herein.
 7          •      Gallagher, Anderson, Sheldon, Redmond, and Ellmer were unjustly enriched by the
 8 proceeds of their illegal sales of Allegiant common stock, as alleged herein, and it would be
 9 unconscionable to allow them to retain the benefits of their illegal conduct.
10          •      To remedy Gallagher, Anderson, Sheldon, Redmond, and Ellmer’s unjust
11 enrichment, the Court should order them to disgorge to the Company all proceeds derived from their
12 illegal sales of Allegiant common stock.
13
                                                COUNT IV
14                                   Against the Director Defendants for
                       Violations of Section 14 of the Securities Exchange Act of 1934
15
16          •       Plaintiffs incorporate by reference all preceding and subsequent paragraphs as if

17 fully set forth herein.
18          •      Rule 14a-9, promulgated pursuant to §14(a) of the Securities Exchange Act of 1934,

19 provides that no proxy statement shall contain “any statement which, at the time and in the light of
20 the circumstances under which it is made, is false or misleading with respect to any material fact, or
21 which omits to state any material fact necessary in order to make the statements therein not false or
22 misleading.” 17 C.F.R. §240.14a-9. Specifically, the Company’s proxy statement filed May 12,
23 2016 violated §14(a) and Rule 14a-9 because it misrepresented the Board’s actual activities with
24 respect to risk management and safety while soliciting votes to approve a compensation plan that
25 would result in payments from the Company to those same individuals.
26          •      The Individual Defendants knew, or in the exercise of reasonable care, should have

27 known that the statements contained in the proxy statement were materially false and misleading.
28                                      52
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
      Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 53 of 56




 1          •      The misrepresentations and omissions in the proxy statement were material to
 2 Company shareholders in voting on the proxy statement. The proxy statement solicited shareholder

 3 votes for approval of the 2016 LTIP, and the 2016 LTIP was approved on the basis of the
 4 representations in the proxy statement. The proxy statement was an essential link in the Individual
 5 Defendants’ ability to receive incentive compensation under the 2016 LTIP.
 6          •      The Company was damaged as a result of the Individual Defendants’ material
 7 misrepresentations and omissions in the proxy statement by the millions of dollars in incentive
 8 compensation it has paid to defendants under the 2016 LTIP.
 9                                      PRAYER FOR RELIEF
10          WHEREFORE, Plaintiffs demand judgment as follows:
11          A.     Against all of the Individual Defendants and in favor of the Company for the damages
12 sustained by the Company as a result of the Individual Defendants’ breaches of fiduciary duties;
13          B.     Imposing a constructive trust in favor of the Company for the proceeds the Insider
14 Selling Defendants each received from their sales of Allegiant common stock, as alleged herein;
15          C.     Ordering the Insider Selling Defendants to disgorge to the Company all proceeds
16 derived from their sales of Allegiant common stock alleged herein;
17          D.     Directing Allegiant to take all necessary actions to reform and improve its corporate
18 governance and internal procedures to comply with applicable laws and to protect the Company and
19 its stockholders from reoccurrence of the damaging conduct described herein;
20          E.     Granting appropriate equitable relief to remedy the Individual Defendants’ breaches
21 of fiduciary duties;
22          F.     Awarding to Plaintiffs the costs and disbursements of this action, including
23 reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and
24          G.     Granting such other and further relief as the Court deems just and proper.
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28                                      53
             THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
     Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 54 of 56




                                     JURY TRIAL DEMANDED
 1
         Plaintiffs demand a trial by jury.
 2

 3 DATED: February 18, 2021                     Respectfully submitted,
 4
 5
                                                __/s/ Martin A. Muckleroy____
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23
24                                              and

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          THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
     Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 55 of 56




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          THIRD AMENDED VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
     Case 2:18-cv-01864-APG-DJA Document 33 Filed 02/18/21 Page 56 of 56



                                        VERIFICATION

       I, Mark Fullenkamp, hereby verify that I have authorized the filing of the attached

Third Amended Verified Consolidated Stockholder Derivative Complaint, that I have reviewed

the Third Amended Verified Consolidated Stockholder Derivative Complaint and that the facts

therein are true and correct to the best of my knowledge, information and belief. I declare under

penalty of perjury that the foregoing is true

and correct.

           17 , 2021                                        Mark A Fullenkamp
February                                                    Mark A Fullenkamp (Feb 17, 2021 14:17 EST)

                                                            Mark Fullenkamp
